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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


  Peerless Indemnity Insurance Company,           Civil No. 15-04112 (ADM-LIB)
                                                  Judge Ann D. Montgomery
                        Plaintiff,                Magistrate Judge Leo I. Brisbois

        v.
                                                          AFFIDAVIT OF
  Sushi Avenue, Inc.,                                  BLAIR A. HARRINGTON

                        Defendant.


STATE OF MINNESOTA )
                   ) ss
COUNTY OF HENNEPIN )

      Affiant Blair A. Harrington, being first duly sworn, and under oath, declares the

following:

      1.     I am an attorney duly authorized and licensed to practice law in the United

States District Court, District of Minnesota. I am one of the attorneys representing

Defendant Sushi Avenue, Inc. (“Defendant”) in the above-captioned action.

      2.     I make this Affidavit in Support of the Defendant’s Motion to Compel and

Redesignate Confidential Material.

      3.     Plaintiff Peerless Indemnity Insurance Company (“Plaintiff”) provided

Defendant with worker’s compensation insurance coverage under policy number WC

8948248, effective from March 19, 2013 through March 19, 2014 and March 19, 2014

through February 15, 2015.
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       4.     Defendant’s estimated premiums were $46,864 for the first policy period and

$39,630 for the second policy period.

       5.     The audit resulted in an additional premium of $389,354. Because Defendant

could not reach a resolution with the Plaintiff regarding the additional premium for the first

policy period, Plaintiff cancelled the second policy period effective March 18, 2015. The

cancellation audit resulted in an additional premium of $357,640.

       6.     On April 22, 2016, Defendant served Plaintiff with Defendant’s First Set of

Interrogatories and Requests for Production.

       7.     Plaintiff responded to Defendant’s First Set of Interrogatories and Requests

for Production on May 23, 2016.

       8.     Plaintiff produced a total of 1,015 documents to Defendant by June 7, 2016

as well as a Redaction Log. Attached hereto as Exhibit 1 is a true and correct copy of the

Redaction Log.

       9.     On September 8, 2016, Defendant received a copy of the documents

produced by Hornig Insurance Agency in response to Plaintiff’s subpoena duces tecum.

       10.    In preparation for depositions on September 14 and 15, 2016, Defendant

extensively reviewed Plaintiff’s production and Redaction Log. During the course of these

depositions, Defendant learned, for the first time, of numerous written communications

responsive to Defendant’s document requests that were not produced by Plaintiff.

       11.    Plaintiff’s counsel also was unaware of many of the communications

disclosed by the witnesses during the September 14 and 15, 2016 depositions and



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acknowledged the same to Defendant. Plaintiff’s counsel agreed to investigate these

apparent deficiencies in its client’s production.

       12.      On September 16, 2016, Defendant’s counsel sent a letter to Plaintiff

identifying the areas in which they believed there were deficiencies with Plaintiff’s

discovery responses. On September 23, 2016, Plaintiff produced responsive,

supplemental documents consisting of 4,936 pages of emails. Plaintiff indicated that it

would further supplement its production and update its privilege log with additional

responsive documents.

       13.      Defendant received supplemental production from Plaintiff on October 4,

2016 (267 documents) and October 7, 2016 (336 documents).

       14.      Plaintiff produced an Amended Redaction Log on October 18, 2016,

itemizing the redacted documents in the supplemental production. Attached hereto as

Exhibit 2 is a true and correct copy of the Amended Redaction Log.

       15.      Attached hereto as Exhibit 3 is a true and correct copy of an email from

Nicole Roy to Dawn Mathison dated September 3, 2014, identified as P-SA001745-6,

which has been submitted under seal and redacted.

       16.      Attached hereto are true and correct copies of the following documents

produced by Plaintiff throughout the course of discovery:

             a. Exhibit 4: Plaintiff’s 2014 audit report, identified as P-SA000270-90;

             b. Exhibit 5: Email from Dawn Mathison to Catie Sebolt dated April 4, 2014,

                identified as P-SA000692;



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     c. Exhibit 6: Email from Nicole Roy to Dawn Mathison dated May 8, 2014,

        identified as P-SA000691;

     d. Exhibit 7: Email from Dawn Mathison to James Slaski dated August 4, 2014,

        identified as P-SA000526;

     e. Exhibit 8: Portion of a manual from the National Council on Compensation

        Insurance, identified as P-SA006144-46;

     f. Exhibit 9: Emails between Nicole Roy and Dawn Mathison dated August

        26, 2014 and September 2, 2014, identified as P-SA001445-46;

     g. Exhibit 10: Email from Dawn Mathison to Melissa Marroquin dated

        September 5, 2014, identified as P-SA000349-51;

     h. Exhibit 11: Email from Dawn Mathison to Rebecca Christiansen dated April

        1, 2015, identified as P-SA000624;

     i. Exhibit 12: Email from Richard Norton to Curlette Alexander dated May 14,

        2015, identified as P-SA000987;

     j. Exhibit 13: Email from Melissa Marroquin to Laura Abraham dated May

        19, 2015, identified as P-SA000884-909;

     k. Exhibit 14: Email from Timothy Zepnick to counsel dated May 22, 2015,

        identified as P-SA000926;

     l. Exhibit 15: Email from Timothy Zepnick to Melissa Marroquin dated June

        22, 2015, identified as P-SA000912-3; and

     m. Exhibit 16: Email from Curlette Alexander to Timothy Zepnick dated June

        30, 2015, identified as P-SA002171.

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FURTHER YOUR AFFIANT SAYETH NOT.



                                              /s/ Blair A. Harrington
                                              Blair A. Harrington

Subscribed and sworn to before me
this 11th day of November, 2016.

/s/Michelle A. Carlson
Notary Public – Minnesota
My Commission Expires 1-31-2021




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                                                      PEERLESS REDACTION LOG
                
    DOC               DOC           BATES         AUTHOR               TO              CC          DOC TYPE            SUBJECT MATTER                     PRIV
    NO.              DATE.           NO.                                                                                                               CLAIMED
    1.              08/07/2014   P-SA000290    Dawn             N/A                              Audit           REDACTED – Confidential              Attorney
                                               Mathison                                                          communication with attorney          Client; Work
                                                                                                                 reflecting legal thoughts, mental    Product
                                                                                                                 impressions, and legal opinion
    2.              07/20/2015   P-SA000331    Curlette         Stephanie                        Journal Entry   REDACTED—Confidential                Attorney
                                               Alexander                                                         communication regarding              Client; Work
                                                                                                                 attorney communications and          Product
                                                                                                                 legal thoughts, mental
                                                                                                                 impressions and strategy
    3.              06/30/2015   P-SA000331    Curlette         Tim Zepnick                      Journal Entry   REDACTED –Confidential               Attorney
                                               Alexander                                                         communication regarding case         Client; Work
                                                                                                                 status, legal advice and opinions    Product
                                                                                                                 and legal strategy in anticipation
                                                                                                                 of litigation
    4.             08/03/2015    P-SA000682    Dawn             N/A                              Audit           REDACTED – Confidential              Attorney
                                               Mathison                                                          communication with attorney          Client; Work
                                                                                                                 reflecting legal thoughts, mental    Product
                                                                                                                 impressions, and legal opinion
    5.             07/21/2015    P-SA000881    Bruce Torres     Stephanie        John            E-mail          REDACTED – Confidential              Work
                                                                Niemela          Surprenant;                     communication regarding case         Product
                                                                                 Richard                         status, legal advice and opinions
                                                                                 Norton;                         in anticipation of litigation
                                                                                 Lynda Sillner
    6.             07/01/2015    P-SA000910    Jennifer Tracy   Douglas          Timothy         E-mail          REDACTED – Confidential              Attorney
                                                                Jenkins          Zepnick;                        communication regarding HO           Client; Work
                                                                                 Bruce Torres;                   legal thoughts and mental            Product
                                                                                 Curlette                        impressions regarding legal
                                                                                 Alexander                       counsel in preparation of
                                                                                                                 litigation
    7.             07/01/2015    P-SA000910-   Douglas          Jennifer Tracy   Timothy         E-mail          REDACTED – Confidential              Attorney
                                 000911        Jenkins                           Zepnick;                        communication regarding HO           Client; Work
                                                                                 Bruce Torres;                   legal advice and analysis of         Product
                                                                                 Curlette                        premium dispute
                                                                                 Alexander
                                                                                                                                                                     CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 6 of 125




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     EXHIBIT
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DOC          DOC          BATES         AUTHOR             TO              CC          DOC TYPE         SUBJECT MATTER                   PRIV
NO.         DATE.          NO.                                                                                                        CLAIMED
8.        06/30/2015   P-SA000911    Bruce Torres   Douglas                          E-mail       REDACTED – Confidential            Attorney
                                                    Jenkins;                                      communication seeking HO legal     Client; Work
                                                    Alexander                                     advice and analysis of premium     Product
                                                    Curlette;                                     dispute
                                                    Timothy
                                                    Zepnick
9.        06/30/2015   P-SA000911-   Douglas        Alexander        Bruce Torres    E-mail       REDACTED – Confidential            Attorney
                       000912        Jenkins        Curlette;                                     communication reflecting           Client; Work
                                                    Timothy                                       corporate counsel’s thoughts,      Product
                                                    Zepnick                                       mental impressions, legal advice
                                                                                                  and legal opinions regarding
                                                                                                  premium dispute
10.       06/30/2015   P-SA000912    Curlette       Timothy          Douglas         E-mail       REDACTED – Confidential            Attorney
                                     Alexander      Zepnick          Jenkins;                     communication reflecting           Client; Work
                                                                     Bruce Torres                 corporate counsel’s thoughts,      Product
                                                                                                  mental impressions, legal advice
                                                                                                  and legal opinions regarding
                                                                                                  premium dispute
11.       07/01/2015   P-SA000915    Douglas        Jennifer Tracy   Timothy         E-mail       REDACTED – Confidential            Attorney
                                     Jenkins                         Zepnick;                     communication reflecting           Client; Work
                                                                     Bruce Torres;                corporate counsel’s legal advice   Product
                                                                     Curlette                     and analysis of premium dispute
                                                                     Alexander
12.       06/30/2015   P-SA000915    Bruce Torres   Douglas                          E-mail       REDACTED – Confidential            Attorney
                                                    Jenkins;                                      communication seeking              Client; Work
                                                    Alexander                                     corporate counsel’s legal advice   Product
                                                    Curlette;                                     and analysis of premium dispute
                                                    Timothy
                                                    Zepnick
13.       06/30/2015   P-SA000915-   Douglas        Alexander        Bruce Torres    E-mail       REDACTED – Confidential            Attorney
                       000916        Jenkins        Curlette;                                     communication reflecting           Client; Work
                                                    Timothy                                       corporate counsel’s thoughts,      Product
                                                    Zepnick                                       mental impressions, legal advice
                                                                                                  and legal opinions regarding
                                                                                                  premium dispute
                                                                                                                                                    CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 7 of 125




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DOC          DOC          BATES         AUTHOR            TO              CC           DOC TYPE         SUBJECT MATTER                   PRIV
NO.         DATE.          NO.                                                                                                        CLAIMED
14.       06/30/2015   P-SA000916-   Curlette       Timothy         Douglas          E-mail       REDACTED – Confidential            Attorney
                       000917        Alexander      Zepnick         Jenkins;                      communication reflecting           Client; Work
                                                                    Bruce Torres                  corporate counsel’s thoughts,      Product
                                                                                                  mental impressions, legal advice
                                                                                                  and legal opinions regarding
                                                                                                  premium dispute
15.       07/01/2015   P-SA000920    Douglas        Bruce Torres;                    E-mail       REDACTED – Confidential            Attorney
                                     Jenkins        Curlette                                      communication reflecting           Client; Work
                                                    Alexander;                                    corporate counsel’s thoughts,      Product
                                                    Timothy                                       mental impressions, legal advice
                                                    Zepnick                                       and opinions regarding premium
                                                                                                  dispute
16.       06/30/2015   P-SA000920    Bruce Torres   Douglas                          E-mail       REDACTED – Confidential            Attorney
                                                    Jenkins;                                      communication seeking              Client; Work
                                                    Curlette                                      corporate counsel’s legal advice   Product
                                                    Alexander;                                    and analysis of premium dispute
                                                    Timothy
                                                    Zepnick
17.       06/30/2015   P-SA000920-   Douglas        Alexander       Bruce Torres     E-mail       REDACTED – Confidential            Attorney
                       000921        Jenkins        Curlette;                                     communication reflecting           Client; Work
                                                    Timothy                                       corporate counsel’s thoughts,      Product
                                                    Zepnick                                       mental impressions, legal advice
                                                                                                  and legal opinions regarding
                                                                                                  premium dispute
18.       06/30/2015   P-SA000921    Curlette       Timothy         Douglas          E-mail       REDACTED – Confidential            Attorney
                                     Alexander      Zepnick         Jenkins;                      communication reflecting           Client; Work
                                                                    Bruce Torres                  corporate counsel’s thoughts,      Product
                                                                                                  mental impressions, legal advice
                                                                                                  and legal opinions regarding
                                                                                                  premium dispute
19.       06/05/2015   P-SA000924-   Douglas        Timothy         Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                       000926        Jenkins        Zepnick         Laura                         communication reflecting           Client; Work
                                                                    Abraham;                      corporate counsel’s thoughts,      Product
                                                                    James Slaski;                 mental impressions, legal advice
                                                                    Curlette                      and legal opinions regarding
                                                                    Alexander;                    premium dispute
                                                                                                                                                    CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 8 of 125




                                                                    Stan Hiers




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DOC          DOC          BATES       AUTHOR          TO           CC           DOC TYPE         SUBJECT MATTER                   PRIV
NO.         DATE.          NO.                                                                                                 CLAIMED
20.       05/22/2015   P-SA000926   Timothy     Douglas      Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                                    Zepnick     Jenkins      Laura                         communication seeking              Client; Work
                                                             Abraham;                      corporate counsel’s thoughts,      Product
                                                             James Slaski;                 mental impressions, legal advice
                                                             Curlette                      and legal opinions regarding
                                                             Alexander                     premium dispute
21.       05/22/2015   P-SA000931   Timothy     Douglas      Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                                    Zepnick     Jenkins      Laura                         communication seeking              Client; Work
                                                             Abraham;                      corporate counsel’s thoughts,      Product
                                                             James Slaski;                 mental impressions, legal advice
                                                             Curlette                      and legal opinions regarding
                                                             Alexander                     premium dispute
22.       05/22/2015   P-SA000933   Douglas     Timothy      Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                                    Jenkins     Zepnick      Laura                         communication regarding            Client; Work
                                                             Abraham;                      corporate counsel’s thoughts,      Product
                                                             James Slaski;                 mental impressions, legal advice
                                                             Curlette                      and legal opinions regarding
                                                             Alexander                     premium dispute
23.       05/22/2015   P-SA000933   Timothy     Douglas      Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                                    Zepnick     Jenkins      Laura                         communication seeking              Client; Work
                                                             Abraham;                      corporate counsel’s thoughts,      Product
                                                             James Slaski;                 mental impressions, legal advice
                                                             Curlette                      and legal opinions regarding
                                                             Alexander                     premium dispute
24.       06/05/2015   P-SA000936   Curlette    Douglas                       E-mail       REDACTED – Confidential            Attorney
                                    Alexander   Jenkins                                    communication regarding            Client; Work
                                                                                           corporate counsel’s thoughts,      Product
                                                                                           mental impressions, legal advice
                                                                                           and legal opinions regarding
                                                                                           premium dispute
25.       06/05/2015   P-SA000936   Douglas     Curlette     Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                                    Jenkins     Alexander;   Laura                         communication regarding            Client; Work
                                                Timothy      Abraham;                      corporate counsel’s thoughts,      Product
                                                Zepnick      James Slaski;                 mental impressions, legal advice
                                                             Bruce Torres                  and legal opinions regarding
                                                                                           premium dispute
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NO.         DATE.          NO.                                                                                                CLAIMED
26.       06/05/2015   P-SA000936-   Curlette    Douglas    Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                       000937        Alexander   Jenkins;   Laura                         communication seeking              Client; Work
                                                 Timothy    Abraham;                      corporate counsel’s thoughts,      Product
                                                 Zepnick    James Slaski;                 mental impressions, legal advice
                                                            Bruce Torres                  and legal opinions regarding
                                                                                          premium dispute
27.       05/31/2015   P-SA000937    Douglas     Timothy    Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                                     Jenkins     Zepnick    Laura                         communication regarding            Client; Work
                                                            Abraham;                      corporate counsel’s thoughts,      Product
                                                            James Slaski;                 mental impressions, legal advice
                                                            Curlette                      and legal opinions regarding
                                                            Alexander                     premium dispute
28.       05/22/2015   P-SA000937-   Timothy     Douglas    Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                       000938        Zepnick     Jenkins    Laura                         communication seeking              Client; Work
                                                            Abraham;                      corporate counsel’s thoughts,      Product
                                                            James Slaski;                 mental impressions, legal advice
                                                            Curlette                      and legal opinions regarding
                                                            Alexander                     premium dispute
29.       06/09/2015   P-SA000940-   Curlette    Timothy    Douglas          E-mail       REDACTED – Confidential            Attorney
                       000941        Alexander   Zepnick    Jenkins;                      communication regarding            Client; Work
                                                            Bruce Torres                  corporate counsel’s thoughts,      Product
                                                                                          mental impressions, legal advice
                                                                                          and legal opinions regarding
                                                                                          premium dispute
30.       06/30/2015   P-SA000971    Curlette    Timothy    Douglas          E-mail       REDACTED – Confidential            Attorney
                                     Alexander   Zepnick    Jenkins;                      communication regarding            Client; Work
                                                            Bruce Torres                  corporate counsel’s thoughts,      Product
                                                                                          mental impressions, legal advice
                                                                                          and legal opinions regarding
                                                                                          premium dispute
31.       06/22/2015   P-SA000974    Douglas     Timothy    Laura            E-mail       REDACTED – Confidential            Attorney
                                     Jenkins     Zepnick    Abraham;                      communication reflecting           Client; Work
                                                            James Slaski;                 corporate counsel’s thoughts,      Product
                                                            Curlette                      mental impressions, legal advice
                                                            Alexander                     and legal opinions regarding
                                                                                          premium dispute
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DOC          DOC          BATES        AUTHOR         TO               CC           DOC TYPE         SUBJECT MATTER                   PRIV
NO.         DATE.          NO.                                                                                                     CLAIMED
32.       06/22/2015   P-SA000974    Timothy    Douglas          Laura            E-mail       REDACTED – Confidential            Attorney
                                     Zepnick    Jenkins          Abraham;                      communication seeking              Client; Work
                                                                 James Slaski;                 corporate counsel’s thoughts,      Product
                                                                 Curlette                      mental impressions, legal advice
                                                                 Alexander                     and legal opinions regarding
                                                                                               premium dispute
33.       06/05/2015   P-SA000974-   Timothy    Collin Becker;                    E-mail       REDACTED – Confidential            Attorney
                       000977        Zepnick    Laura Abraham                                  communication regarding            Client; Work
                                                                                               corporate counsel’s thoughts,      Product
                                                                                               mental impressions, legal advice
                                                                                               and legal opinions regarding
                                                                                               premium dispute
34.       05/22/2015   P-SA000977-   Timothy    Douglas          Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                       000978        Zepnick    Jenkins          Laura                         communication seeking              Client; Work
                                                                 Abraham;                      corporate counsel’s thoughts,      Product
                                                                 James Slaski;                 mental impressions, legal advice
                                                                 Curlette                      and legal opinions regarding
                                                                 Alexander                     premium dispute
35.       06/22/2015   P-SA000980    Timothy    Douglas          Laura            E-mail       REDACTED – Confidential            Attorney
                                     Zepnick    Jenkins          Abraham;                      communication regarding            Client; Work
                                                                 James Slaski;                 corporate counsel’s thoughts,      Product
                                                                 Curlette                      mental impressions, legal advice
                                                                 Alexander                     and legal opinions regarding
                                                                                               premium dispute
36.       06/05/2015   P-SA000980-   Timothy    Collin Becker;                    E-mail       REDACTED – Confidential            Attorney
                       000982        Zepnick    Laura Abraham                                  communication regarding            Client; Work
                                                                                               corporate counsel’s thoughts,      Product
                                                                                               mental impressions, legal advice
                                                                                               and legal opinions regarding
                                                                                               premium dispute
37.       05/22/2015   P-SA000983    Timothy    Douglas          Collin Becker;   E-mail       REDACTED – Confidential            Attorney
                                     Zepnick    Jenkins          Laura                         communication seeking              Client; Work
                                                                 Abraham;                      corporate counsel’s thoughts,      Product
                                                                 James Slaski;                 mental impressions, legal advice
                                                                 Curlette                      and legal opinions regarding
                                                                 Alexander                     premium dispute
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                                                             R.UC112856
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                                                             R.UC112857
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                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                      5`QV_!FRN^[Z4!5ZZ`NX




                                                                                            !!!!!!!=><=!DF>CF>HL
KJGD>T!IPH=@M7                       R>V&.1'5615/15                                                       <B@I>T!I<H@7 CJMIDB!DINPM<I>@!<B@I>T!DI>!!!!!!
DINPM@?7                             NPNCD!<Q@IP@!DI>                                                     <B@I>T!>J?@7 0///5-0!!!!!!!!
<??M@NN7                             562!=GP@!B@IOD<I!M?!3                                                   >JHK<IT7 K@@MG@NN!DI?@HIDOT!DINPM<I>@!>JHK<IT
>DOT,NO<O@7                          N<DIO!K<PG)!HI!!22./.
KJGD>T!K@M+7                         0,.6,/-.0*0,.6,/-.1                                                       <P?DOJM7 HWj^_ied!?Wmd!!!!!!!!!!!!!!!!!!!!
<P?DO!K@M+7                          0,.6,/-.0*0,.6,/-.1                                                     <P?DO!OTK@7 KCTND><G
                                                                                                             <P?DO!ODH@7 2!Cekhi
                                                                                                   5I8>H!J>G>H!85H94! .),),*+.

G`YYN]d![S!9c\[^`]R                                                                                              GCIF794 H@>>
                                                                                  HCH5@!9GH(!DF9A>IA4                       .+&1*3

                G_N_R                7[QR       K7!8R^P!B[(                                     7XN^^VSVPN_V[Z                 5P_`NX!9c\[^`]R


@C75H>CB                             .2/3!@!22OC!NO!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                     >CD><BJ!!!!!!!!!!!!!!!!!!DG!3-3.2!!!!
          B5A98!>BGIF98              NPNCD!<Q@IP@!DI>!!!!!!!!!!!!!!<ND<I!<Q@IP@

                                                                                  NOJM@7!H@<O)!ADNC!JM!KJPGOMT*
                  DG                 5-0.!!!    !!                                M@O<DG!!!!!!!!!!!!!!!!!!!!!!!!!                        /)032)350
                                                                                  JOC@MN

                                                                                  NOJM@7!H@<O)!ADNC!JM!KJPGOMT*
                  DG                 5-0.!!!    !!                                M@O<DG!!!!!!!!!!!!!!!!!!!!!!!!!                                 -
                                                                                  JOC@MN

                                                                                  N<G@NK@MNJIN!JM!>JGG@>OJMN!*!
                  DG                 541/!!!    !!                                JPOND?@!!!!!!!!!!!!!!!!!!!!!!!!                                 -
                                                                                  JOC@MN

                                                                                  N<G@NK@MNJIN!JM!>JGG@>OJMN!*!
                  DG                 541/!!!    !!                                JPOND?@!!!!!!!!!!!!!!!!!!!!!!!!                                 -
                                                                                  JOC@MN


@C75H>CB                             .-/-!?DAAG@T!M?!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                     @<B<I!!!!!!!!!!!!!!!!!!!!HI!22./0!!!!
          B5A98!>BGIF98              NPNCD!<Q@IP@!DI>!!!!!!!!!!!!!!<ND<I!<Q@IP@

                                                                                  ?MDQ@MN)!>C<PAA@PMN!<I?!OC@DM!
                 HI                  405-!!!    !!                                C@GK@MN!!!!!!!!!!!!!!!!!!!!!!!                                  -
                                                                                  JOC@MN

                                                                                  ?MDQ@MN)!>C<PAA@PMN!<I?!OC@DM!
                 HI                  405-!!!    !!                                C@GK@MN!!!!!!!!!!!!!!!!!!!!!!!                                  -
                                                                                  JOC@MN

                                                                                  NOJM@7!H@<O)!ADNC!JM!KJPGOMT*
                 HI                  5-0.!!!    !!                                M@O<DG!!!!!!!!!!!!!!!!!!!!!!!!!                        3)01.)223
                                                                                  JOC@MN

                                                                                  NOJM@7!H@<O)!ADNC!JM!KJPGOMT*
                 HI                  5-0.!!!    !!                                M@O<DG!!!!!!!!!!!!!!!!!!!!!!!!!                                 -
                                                                                  JOC@MN

                                                                                  N<G@NK@MNJIN)!>JGG@>OJMN!JM!
                 HI                  541/!!!    !!                                H@NN@IB@MN*!!!!!!!!!!!!!!!!!!!!!                         050)/65
                                                                                  JOC@MN

                                                                                  N<G@NK@MNJIN)!>JGG@>OJMN!JM!
                 HI                  541/!!!    !!                                H@NN@IB@MN*!!!!!!!!!!!!!!!!!!!!!                          60).51
                                                                                  JOC@MN


                                                                                                       EXHIBIT

222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                        DNTR!+
                                                                                                             4                   R.UC111381                 !2)1),*+.
                           CASE 0:15-cv-04112-ADM-DTS
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 63
                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                      5`QV_!FRN^[Z4!5ZZ`NX




                 HI                  55.-!!!    !!                                >G@MD><G!JAAD>@!@HKGJT@@N!IJ>!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!                -
                                                                                  JOC@MN


                 HI                  55.-!!!    !!                                >G@MD><G!JAAD>@!@HKGJT@@N!IJ>!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                                                                                                                           042)01/
                                                                                  JOC@MN

                 HI                  6-5/!!!    !!                                M@NO<PM<IO!IJ>!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!         /65)1./
                                                                                  JOC@MN


@C75H>CB                             20-.!03OC!<Q@!I!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                     >MTNO<G!!!!!!!!!!!!!!!!!!HI!221//!!!!
          B5A98!>BGIF98              NPNCD!<Q@IP@!DI>!!!!!!!!!!!!!!<ND<I!<Q@IP@

                                                                                  NOJM@7!ADNC)!H@<O!JM!KJPGOMT*
                  IT                 5-0.!!!    !!                                M@O<DG!!!!!!!!!!!!!!!!!!!!!!!!!                                     /).2-)66.
                                                                                  JOC@MN

                                                                                  NOJM@7!ADNC)!H@<O!JM!KJPGOMT*
                  IT                 5-0.!!!    !!                                M@O<DG!!!!!!!!!!!!!!!!!!!!!!!!!                                             -
                                                                                  JOC@MN

                                                                                  N<G@NK@MNJIN)!>JGG@>OJMN!JM!
                  IT                 541/!!!    !!                                H@NN@IB@MN*!!!!!!!!!!!!!!!!!!!!!                                            -
                                                                                  JOC@MN

                                                                                  N<G@NK@MNJIN)!>JGG@>OJMN!JM!
                  IT                 541/!!!    !!                                H@NN@IB@MN*!!!!!!!!!!!!!!!!!!!!!                                            -
                                                                                  JOC@MN


@C75H>CB                             36-!HDGG=MJJF!<Q@!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                     M<I?JGKC!!!!!!!!!!!!!!!!!IE!-4536!!!!
          B5A98!>BGIF98              NPNCD!<Q@IP@!DI>!!!!!!!!!!!!!!<ND<I!<Q@IP@

                                                                                  NOJM@7!ADNC)!H@<O!JM!KJPGOMT*
                  IE                 5-0.!!!    !!                                M@O<DG*!!!!!!!!!!!!!!!!!!!!!!!!                                     .)2/-)235
                                                                                  JOC@MN

                                                                                  NOJM@7!ADNC)!H@<O!JM!KJPGOMT*
                  IE                 5-0.!!!    !!                                M@O<DG*!!!!!!!!!!!!!!!!!!!!!!!!                                             -
                                                                                  JOC@MN

                  IE                 541/!!!    !!                                N<G@NK@MNJIN**JPOND?@!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!          .0)53-
                                                                                  JOC@MN

                  IE                 541/!!!    !!                                N<G@NK@MNJIN**JPOND?@!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!                -
                                                                                  JOC@MN


@C75H>CB                             ./.!@!>DOT!<Q@!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                     =<G<!>TIRT?!!!!!!!!!!!!!!K<!.6--1!!!!
          B5A98!>BGIF98              NPNCD!<Q@IP@!DI>!!!!!!!!!!!!!!<ND<I!<Q@IP@

                  K<                 -564!!!    !!                                A<NO*AJJ?!M@NO<PM<IO!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!         512)603
                                                                                  JOC@MN

                  K<                 -564!!!    !!                                A<NO*AJJ?!M@NO<PM<IO!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!                -
                                                                                  JOC@MN

                  K<                 -62.!!!    !!                                JPOND?@!N<G@N!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!          1-)12-
                                                                                  JOC@MN




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                        DNTR!,                                                         R.UC111382       !2)1),*+.
                           CASE 0:15-cv-04112-ADM-DTS
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 64
                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                            >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                               5`QV_!FRN^[Z4!5ZZ`NX




IZQR]b]V_R]!5XR]_
O^[!>bWii_\_YWj_ed!6-5/!mWi!WZZ[Z!Zkh_d]!j^[!WkZ_j!je!h[\b[Yj!j^[!j^h[[!h[ijWkhWdji!j^[
_dikh[Z!^Wi+
O^[!>bWii_\_YWj_ed!-62.!mWi!WZZ[Z!Zkh_d]!j^[!WkZ_j!je!h[\b[Yj!j^[!K[ddioblWd_W!M[]_edWb
Nkf[hl_ieh



8R^P]V\_V[Z![S!C\R]N_V[Z^

O^[!_dikh[Z!_i!W!>ehfehWj_ed!m_j^!ckbj_fb[!ef[hWj_edi+
Kh_cWh_bo!j^[o!Wh[!W!iki^_!ikffb_[h!je!Wh[W!]heY[ho!ijeh[i+!!!O^[o!m_bb!h[dj!ifWY[!\hec
j^[!]heY[ho!ijeh[+!!<!Y^[\!m_bb!fh[fWh[!WdZ!fWYaW][!j^[!iki^_!\eh!j^[!]heY[ho!ijeh[
Ykijec[hi+!!!!O^[!_dikh[Z!fWoi!W!Yecc_ii_ed!je!j^[!]heY[ho!ijeh[!j^Wj!j^[o!Wh[!beYWj[Z
_d+!!!O^[_h!ifWY[i!YWd!X[!\ekdZ!_d!>kX!AeeZi!WdZ!Nkf[h!QWbk!]heY[ho!ijeh[i!Wced]ij
ej^[hi+!!<bb!e\!j^[_h!ijeh[!iki^_!bWXeh!_i!Zed[!Xo!DdZ[f[dZ[dj!>edjhWYjehi!fW_Z!ed!W
.-66+!!!O^[o!Wh[!fW_Z!W!Yecc_ii_ed!\hec!j^[!ijeh[!iWb[i!WdZ!Wh[!h[gk_h[Z!je!fkhY^Wi[!Wbb
fheZkYji!\hec!j^[!_dikh[Z+!!!O^[!_dikh[Z!m_bb!Z[ZkYj!j^[!Yeij!e\!j^[!cWj[h_Wbi!\hec!j^[
Yecc_ii_edi!!WdZ!fWo!j^[!h[cW_d_d]!je!j^[!>edjhWYjeh+!!DdZ[f[dZ[dj!>edjhWYjehi!^Wl[!W!.0
KW][!>edjhWYj!m_j^!j^[!Ddikh[Z!j^Wj!Z[jW_bi!^em!j^[o!m_bb!ef[hWj[+!!!Ied[!^Wl[!Khee\!e\
DdikhWdY[+!!!O^[!YedjhWYj!h[\b[Yji!Wd![cfbeo[h,[cfbeo[[!h[bWj_edi^_f+!!!<bb!^Wl[!X[[d
_dYbkZ[Z!kdZ[h!"5-0.+
DdZ_l_ZkWb!ijWj[!WZZh[ii[i!m[h[!dej!WlW_bWXb[!\eh![WY^!ed[+!!D!i[fWhWj[Z!j^[!NjWj[i!j^Wj
m[h[!ed!j^[!feb_Yo!Wbh[WZo!WdZ!_dYbkZ[Z!j^[!XWbWdY[!_d!HI!"5-0.+

O^[!_dikh[Z!^Wi!W!Z[fWhjc[dj!YWbb[Z!?N?+!!!Ahec!1,.,.0!je!5,6,.0!j^[o!ef[hWj[Z!kdZ[h!j^[_h
emd!A@DI!dkcX[h!&/3*//314-.'!Wi!Nki^_!<l[+!>Wj[h_d]!DdY+!!!O^[o!fh[fWh[!iki^_!_d!j^[
Z_ijh_Xkj_ed!Y[dj[h!je!X[!Z[b_l[h[Z!je!ikf[hcWha[ji!WdZ!if[Y_Wb![l[dji+!!!!O^[!\eeZ!fh[f
[cfbeo[[i!Wh[!YbWii_\_[Z!Wi!"5-0.)!m^_b[!j^[!Zh_l[hi!Wh[!_dYbkZ[Z!_d!"405-+!!!<\j[h
5,6,.0)!j^[o!m[h[!WZZ[Z!_dje!Nki^_!<l[dk[!DdY+!fWohebb+

HWha[j_d]![cfbeo[[i!Ze!_di_Z[!iWb[i!\eh!j^[_h!fheZkYji!WdZ!beYWj_edi+

M[]_edWb!Nkf[hl_iehi!Wh[!h[ifedi_Xb[!\eh!l_i_j_d]!j^[!ijeh[i!je!c[[j!m_j^!j^[!ijeh[!emd[hi
WdZ!_dikh[!j^[!>edjhWYjeh!_i!c[[j_d]!j^[!j[hci!e\!j^[!YedjhWYj+!!!O^[o!^Wl[!X[[d!_dYbkZ[Z
_d!"541/+

O^[o!Wbie!fhel_Z[!iki^_!je!YW\[j[h_Wi!WdZ!ijeh[i+!!!O^[!iki^_!_i!fh[fWh[Z!Wj!j^[_h
YehfehWj[!i_j[)!fWYaW][Z)!j^[d!Z[b_l[h[Z!je!j^[!beYWj_edi+

GWijbo!j^[o!^Wl[!j^h[[!h[ijWkhWdj!beYWj_edi+!!!./0!Nki^_!^Wi!.!beYWj_ed+!!Dj!_i!Wd
Wii[cXbo!b_d[!m^[h[!j^[!Ykijec[h!j[bbi!j^[!fh[fWh[h!^em!j^[o!mWdj!j^[_h!iki^_!cWZ[)!m^Wj
j^[o!mWdj!ed!_j)![jY+!!i_c_bWh!je!W!NkXmWo!NWdZm_Y^!i^ef+!!!O^[o!ej^[h!jme!beYWj_edi!Wh[
h[ijWkhWdji!_d!HWbbi+!!O^[o!Wh[!YWbb[Z!HWik!Nki^_!WdZ!MeXWjW+!!!O^[!h[ijWkhWdji!^Wl[
jWXb[!i[hl_Y[!\eh!j^[_h!Ykijec[hi+!!!O^[!h[ijWkhWdji!Wh[!Wbb!_d!H_dd[iejW+

>bWii_\_YWj_edi
"55.-!*!>b[h_YWb!J\\_Y[!@cfbeo[[i!*!DdYbkZ[i!<YYekdj_d])!HWha[j_d])!M[Y[fj_ed_ij)!WdZ!QK
e\!A_dWdY[+
"541/!*!Jkji_Z[!NWb[i!*!DdYbkZ[i!j^[!M[]_edWb!Nkf[hl_iehi!WdZ!jme!e\\_Y[hi!m^e!if[dZ!j^[
cW`eh_jo!e\!j^[_h!j_c[!jhWl[b_d]+
"5-0.!*!Njeh[7!!H[Wj)!A_i^!eh!Kekbjho*!M[jW_b!*!DdYbkZ[i!Wbb!Nki^_!Kh[f!WdZ!DdZ[f[dZ[dj
>edjhWYjehi!j^Wj!fh[fWh[!WdZ!i[bb!Nki^_!_d!j^[!Nkf[hcWha[ji
"405-!*!?h_l[hi!*!IJ>!*!DdYbkZ[i![cfbeo[[i!j^Wj!Z[b_l[h!j^[!Nki^_!j^Wj!_i!fh[ff[Z!_d!j^[
Z_ijh_Xkj_ed!Y[dj[h!je!_ji!\_dWb!Z[ij_dWj_ed
"6-5/!*!M[ijWkhWdj!IJ>!*!DdYbkZ[i!j^[![cfbeo[[i!\eh!HWik!Nki^_!WdZ!MeXWjW
"-564!*!AWij!AeeZ!M[ijWkhWdj!*!DdYbkZ[i!DdZ[f[dZ[dj!>edjhWYji!cWa_d]!Nki^_!_d!K[ddioblWd_W

"-62.!*!Jkji_Z[!NWb[if[hiedi!*!DdYbkZ[i!j^[!M[]_edWb!Nkf[hl_ieh!_d!K[ddioblWd_W




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                             DNTR!-                R.UC111383      !2)1),*+.
                            CASE 0:15-cv-04112-ADM-DTS
 D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 65
                                                  @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                             D[XVPd4!K7M!$+.%!23.2,.2
                                                     >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                        5`QV_!FRN^[Z4!5ZZ`NX




!<B@I>T!DI>!!!!!!

T!DINPM<I>@!>JHK<IT

!!!!!!!!




     9^_!9c\[^`]R




                   .46



                   /61



               //)/35



               03)310




              ./-).54



               40)-1-



              40/)4./



              112)/5/



              .45)21.



              .-5)2-/




 222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                   DNTR!.                          R.UC111384      !2)1),*+.
                           CASE 0:15-cv-04112-ADM-DTS
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 66
                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                    >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                       5`QV_!FRN^[Z4!5ZZ`NX




             0//)6-6



             20.)014


                    -




                    -



                    -



              /5)-.1



              .4)-/1




              0/)/-4



              .6)240


                .)0-3


                  461




                0)-56


                .)545


                    -




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                   DNTR!/                          R.UC111385      !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 67 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                                                                                            D[XVPd4!K7M!$+.%!23.2,.2


                                                                                          5`QV_!FRN^[Z4!5ZZ`NX
<kZ_j!Rehai^[[j
DC@>7L!BIA69F4               K7M!23.2,.2
>BGIF984                     GIG=>!5J9BI9!>B7!!!!
588F9GG4                     23/!6@I9!<9BH>5B!F8!0!!!!!!!!!!!!
7>HL)GH5H94                  G5>BH!D5I@&!AB!!//+,+
DC@>7L!D9F(4                 -)+3),*+-'-)+3),*+.
5I8>H!D9F(4                  -)+3),*+-'-)+3),*+.
                                                    <][^^     <][^^      <][^^
G`^UV!5aR!>ZP!8R_NVX                               KNTR^      KNTR^      KNTR^
IWc[                         ?kjo                ?NZ'8RP!+- ?NZ'AN]!+- ?NZ'AN]!+.    H[_NX        7XN^^
Nj[f^[d!Fkc`_                <YYekdj_d]                22)---   *./)---     ./)---      22)---    "55.-
Ekd!G_Wd]                    <YYekdj_d]                ./)223                5).13      /-)4-/    "55.-
Ne[!O^Wd                     >^[\                      .3).21    *3)6/0                  6)/0.    "5-0.
?N?!Kh[f                                               5/)1.4               05)4.2     ./.).0/    "5-0.
?N?!?h_l[hi                                            61)0.4    *2)56-     1.)-50     ./6)2.-    "5-0.
?N?!H]h                                                 4)5/4                1)0-5      ./).02    "5-0.
?N?!C[bf[h                                            210)-06  *.14)166     55)./1     150)331    "5-0.
E_bb_Wd!JXh_[d               HWha[j_d]                 1-)---    *6)/0.      0)321      01)1/0    "55.-          HWha[j_d]!HWj[h_Wbi)!j[b[f^ed[!ijeh[i!je!][j!b[WZi
O_c!Njeh[o                   HWha[j_d]                 14)2-.   *.-)215     ..)-53      15)-06    "55.-          je!fkj!ijeh[i!_d+!!
Nj[f^[d!OecWi_d_             HWha[j_d]                 5.)031   *.6)5/3     .6)/1-      5-)445    "55.-
NjWYo!TWd]                   HWha[j_d]                                       /)-.6       /)-.6    "55.-          ?N?!C[bf[h!?[jW_b
HWik*>e                      M[ijWkhWdj!Kh[f          ..1)60/   *.5)//0     1-)332     .04)041    "6-50          F[b!@NORX^ G`Y![S!H[_NX
O^ecWi!MWm_jp[h!Eh           M[ijWkhWd!H]h             2.)---   *./)---                 06)---    "6-50          HI                013)111
R_bb!N[b_d                   M[ijWkhWd!H]h                                   .)205       .)205    "6-50          IE                 01)636
=h[dj!Neakf                  M[ijWkhWd!H]h             2-)---   *..)205                 05)13/    "6-50          IT                .-/)/2.
?Wd_[b!NfW                   M[ijWkhWd!H]h             15)---   *..)-44      2)0-5      1/)/0.    "6-50          <]NZQ!H[_NX       .2-&00.
F^_d[!Okd                    M[ijWkhWd!H]h             12)---   *.-)052      2).6/      06)5-4    "6-50
E[dd_\[h!Cebm[][h            M[Y[fj_ed_ij              .-)454    *2)2/-                  2)/34    "55.-          Kh[f!\eh!j^[!iki^_!*!Ykji!\_i^)!
I_Yeb[!EeoY[                 M[Y[fj_ed_ij               0)2/-                2)/5-       5)5--    "55.-          HI!*!mehai!_d!j^[!Yehf!beYWj_ed
M_Y^[hW!Ekd                  M[Y[fj_ed_ij              .5)/--    *1)/--      1)/--      .5)/--    "55.-          Jkj!e\!ijWj[!mehai!_d!j^[!ijeh[i!cWa_d]!iki^_
@h_d!FebdX[h][h              <YYekdj_d]                /5)26-    *6)401                 .5)523    "55.-
F^_d!Ho_dj                   C[bfi!\eh!Z[ce            .5)/--    *1)/--      2)-22      .6)-22    "541/
G_dZi[o!K[Z[hied             M[Y[fj_ed_ij               /)0-1                            /)0-1    "55.-
IWo!CbW                      Kh[i_Z[dj                1.2).36  *..5)05/     54)16/     051)/46    "541/
IWo!G_d                      >JJ                      /15)006   *41)-1/     2-)116     //1)413    "55.-
He[!Gm_d                     QK*A_dWdY[                52)2/2   */0)-44     .5)2-3      5-)621    "55.-
H_aae!>^kW                   M[]_edWb!Nkf[hl_ieh       04)1.6    *5)341      6)-30      04)5-5    "541/
EWied!>ebb_di                ><*M[]_edWb!Nkf[hl        06)1--    *6)-6/      0)-0.      00)006   ><*"541/
MoWd!?kcWf_                  IE*M[]_edWb!Nkf[hl        //)032    *5)2-2                 .0)53-   IE*"541/
Eei^kW!BhW[^b                M[]_edWb!Nkf[hl_ieh       ./)1/6    *5)05/                  1)-14    "541/
O[hho!Ced]                   M[]_edWb!Nkf[hl_ieh        2)021                5)236      .0)6/0    "541/
Eei^kW!E_c_d[p               ><*M[]_edWb!Nkf[hl        .1)644                5).36      /0).13   ><*"541/
Coed]!F_c                    QK*Jl[hi[[i!M[]_edWb!Nkf[hl_iehi
                                                       30)201   *.1).03     .3)302      33)-00    "541/
?Wd_[b!G_cXkh]               M[]_edWb!Nkf[hl_ieh       03)245    *5)/3/      5)164      03)5.0    "541/
EehZWd!G_iemia_              M[]_edWb!Nkf[hl_ieh       1/)252    *6)432     .-)30-      10)12-    "541/
Eei[f^!H[j[h                 K<*!h[]_edWb!ikf[hl_ieh 1-)12-      *6)002      6)002      1-)12-   K<*"541/
<dZh[m!NWh][dj               M[]_edWb!Nkf[hl_ieh        1)244                4)6/0      ./)2--    "541/
FoWm!R_d                     OS                        .1)/.2    *4)421                  3)13.   OS*"541/
N^_ff_d]                                              /30)32/   *4-)156     21)420     /14)6.3    "5-0.
                                                    /)4.4)/43  *335)356    255)332   /)304)/2/


222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                                        DNTR!0                                                              R.UC111386          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 68 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                                                                D[XVPd4!K7M!$+.%!23.2,.2


                                                                                    5`QV_!FRN^[Z4!5ZZ`NX
<kZ_j!Rehai^[[j
DC@>7L!BIA69F4 K7M!23.2,.2
>BGIF984        GIG=>!5J9BI9!>B7!!!!
588F9GG4        23/!6@I9!<9BH>5B!F8!0!!!!!!!!!!!!
7>HL)GH5H94     G5>BH!D5I@&!AB!!//+,+
DC@>7L!D9F(4    -)+3),*+-'-)+3),*+.
5I8>H!D9F(4     -)+3),*+-'-)+3),*+.

?N?!C[bf[h!?[jW_b
                                       <][^^      <][^^      <][^^
                                       KNTR^      KNTR^      KNTR^                        Kh[f!\eh!j^[!iki^_!*!Ykji!\_i^)!
        BNYR               G_N_R     ?NZ'8RP!+- ?NZ'AN]!+- ?NZ'AN]!+.   H[_NX             HI!*!mehai!_d!j^[!Yehf!beYWj_ed
FoWm!<kd]             HI                   5)-05                           5)-05          Jkj!e\!ijWj[!mehai!_d!j^[!ijeh[i!cWa_d]!iki^_
HWkd]!<kd]            HI                   0)3--     *0)3--                     -
O_d!<kd]              IE                  0/)4/.     *4)//0     4)//0     0/)4/.
P!<kd]                HI                   /)/53     */)/53                     -
UWm!<kd]              IT                   2)00/                           2)00/          F[b!@NORX^     G`Y![S!H[_NX
FoWm!<o[              IT                  .-)6.3                3)/./     .4)./5          HI                 013)111
QWd!Ckd]              HI                                        .)11.      .)11.          IE                  01)636
GWo!>bWo              HI                   6)/.6     *3)/50                /)603          IT                 .-/)/2.
Io_!Kk!Cjkd           IE                                        /)/15      /)/15          <]NZQ!H[_NX        .2-&00.
U_d!CjW_              IT                   .)-01     *.)-01                     -
H_d!F^W_d]            HI                  ..)023     *3)504                1)2.6
<kd]!F^_d[            IT                  //)662                4)-33     0-)-3.
F^_d[!F^_d[           IT                  .4)53-     *3)/22               ..)3-2
Oek!F^_d[             HI                   1)/35     *1)/35                     -
HWkd]!Fo_             HI                  /2)31-     *2)12/     2)615     /3).03
ImWo!G_d              HI                  /.).02     *2).06               .2)663
F^W_d]!Gk             HI                  00)/34     *4)06.     4)06.     00)/34
F^e!Gkd               HI                     0-0                              0-0
HWkd]!Gm_d            HI                   .)4-3     *.)4-3                     -
FoWm!HWkd]            HI                  /6)511     *4)/13               //)265
NWbW_!HWkd]           HI                   /)./0                           /)./0
O^Wd!HWkd]            IT                   .)602     *.)602                     -
Ne[!H_d               IT                   /)356     */)356                     -
F^W_d]!<!IW_d]        HI                  0-)./5     *3)/50     3)504     0-)35/
F^W_d]!O!IW_d]        HI                  /6)233     *3)504               //)4/6
KW!Ik                 HI                  0-)535     *4)...     4)...     0-)535
F^_d!Je               HI                   4)/-6     *2)/35     .)12-      0)06.
P!JjjWcW              HI                   /)/50     */)/50                     -
IW_!K^_d              HI                                        .)-.2      .)-.2
Hee!NWo               HI                   /)55-                           /)55-
<kd]!N[_d             HI                   3)/4-     *3)/4.     .)-.2      .)-.1
HWkd]!N[_d            IT                   1)556                3)666     ..)555
<kd]!Ne[!             HI                  .3)361     *2)205               ..).23
CjW_d!Ne[             IT                   .)01.     *.)01.                     -
F^W_d]!Ne[            HI                  /.)610     *4)...               .1)50/
F^W_d]!G_d!O^Wh       HI                  .6).45                3)504     /3)-.2
FWkd]!O^k             HI                   /)05-     */)05-                     -
He[!O^k               HI                  .4)6.3     *5)03.                6)222


222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                                DNTR!1                                          R.UC111387          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 69 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                          D[XVPd4!K7M!$+.%!23.2,.2


                                                                             5`QV_!FRN^[Z4!5ZZ`NX
NWd!Okd               HI              /5)134     *3)/50    3)/50    /5)134
N[_d!Okd              HI              /1)-0-     *3)/50             .4)414
HWkd]!R_d             HI              /0)0/0     *.)114    3)53-    /5)403
I[!R_d                IT              /2)1-3     *2)024    3).55    /3)/04
                                     210)-05   *.14)165   55)./1   150)331




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                         DNTR!2           R.UC111388          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 70 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                                                             D[XVPd4!K7M!$+.%!23.2,.2


                                                                                            5`QV_!FRN^[Z4!5ZZ`NX
<kZ_j!Rehai^[[j
DC@>7L!BIA69F4            K7M!23.2,.2
>BGIF984                  GIG=>!5J9BI9!>B7!!!!
588F9GG4                  23/!6@I9!<9BH>5B!F8!0!!!!!!!!!!!!
7>HL)GH5H94               G5>BH!D5I@&!AB!!//+,+
DC@>7L!D9F(4              -)+3),*+-'-)+3),*+.
5I8>H!D9F(4               -)+3),*+-'-)+3),*+.

+*33#^
BNYR                      G_N_R       7[Y\RZ^N_V[Z               3*"
KW_!Fk[!CWd]              HI                3-)4.1             21)310             Reha!ed!Yecc_ii_edi
IW_pWm!DdY                HI               .-3).31             62)215             Rehai!_d!>kXi)!jWa[i!YWh[!e\![cfbeoc[dj)!meha!
C`kd!Ek!Ekd               HI                14)16.             1/)41/
IWo!Hoe                   DG               166)661            116)662
HW!F^_d!NWo!<o[           HI               /60)115            /31).-0                          F[b!@NORX^ G`Y![S!3*"
KWk!>!G_d                 DG               /6.)532            /3/)346                          ><                .)/5.)146
=Wm_a^Wh!ObWd]!HWd]       DI               .24)314            .1.)55/                          >O                  2/-).6/
HoWj!O^k                  DG               .34)344            .2-)6-6                          ?@                  ./0)26.
Tekd]!Pa!G_c              HI                26)615             20)620                          B<                   31)16.
Nk!HoWj                   HI                51)5-6             43)0/5                          DG                /)032)350
O^Wd!O^Wd!<o[             HI                4-)-4-             30)-30                          DI                  0-/)140
C[[!Ja!F_c                HI                05)/23             01)10-                          FN                    4)304
R_d!IW_d]                 DG               012)-62            0.-)253                          G<                  //0)/-.
O_d]!F^Wd!KWk             DG               /-1)/04            .50)5.0                          H?                  /35)3-4
HWkd]!K^_Wdd              DG               15-)/.6            10/).64                          HD                    6)644
CbW!Okd                   HI                4-)215             30)160                          HI                .)/06)10/
<!OW[                     Hd                06)5/.             02)506                          I>                   01)55-
Io_!Io_!Ne[!HWkd]         HI                /3)-/1             /0)1//                          IE                .)152)266
HWkd]!ID!<kd]             HI                ./)266             ..)006                          IT                /)-15)41-
O^Wh!HWkd]                HI                4.)234             31)1.-                          K<                  512)603
Oek!Oek!F^_d[             G<                3-)-42             21)-35                          N>                   43).6-
HW!ImWo                   HI                1.)035             04)/0.                          OI                   /4)516
O^Wd!O^Wd!<o[             HI                0.)22/             /5)064                          PO                .)-61)612
Hoe!Fe!Fe!O_d             DG               .25)205            .1/)351                          Q<                   /0)-66
Fk!Fk!                    HI                .3)0/4             .1)361                          RD                    2)/-/
G_d!G_d!                  HI                 1)130              1)-.4                          <]NZQ!H[_NX      +,&*.3&,*,
NWm!HoWj!IWd              HI                 1)130              1)-.4
Okd!Ik!F^_d[              Hd                .4)-5/             .2)041
OIF!>ehfeWj_ed            IT               .-4)534             64)-5- A[Z!DZ!IkcX[h            H[!G`^UV!5aRZ`R!>ZP!<][^^!NZQ!6NXNZPR
F^_d!O^kiWh!HeY           IT                /5)/14             /2)1//                                 DG         /)032)350
Ko[!Ned[                  IT               ..-)215             66)160                                IE          .)152)266
HWkd]!R_d!<kd]            K<                54).24             45)11.                                IT          /)-15)41-
HW!BhWY[                  K<                54).24             45)11.                                K<            512)603
R_bb_Wc!NWdcoWj!G_d       IT               /13)/-6            //.)255                                HI          2)0-0)/11
Nki^_!=Wh!Wj!<Yc[!Njeh[   K<                60)--4             50)4-3 A[Z!DZ!IkcX[h
HWjj!I]kdjb_d]            IE                11)254             1-)./5                               OejWb       ./)-16)/-/
P!Okd!CbW                 IT                5-).-3             4/)-62
F^_d!NWd!Gm_d             IT                30)6/4             24)201
O^_!O^_                   K<                35)26/             3.)400
O^WdZWh!Nki^_!DdY         IT                2.)./4             13)-.1 A[Z!DZ!IkcX[h


222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                                          DNTR!3                             R.UC111389          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 71 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                          D[XVPd4!K7M!$+.%!23.2,.2


                                                                          5`QV_!FRN^[Z4!5ZZ`NX
Gm_d!NjWh!>ehf            IT          .04)311   ./0)55-   A[Z!DZ!IkcX[h
HWkd]!O^Wmd               IE           /6)4.-    /3)406
P!Okd!T_d                 K<          .-6)33-    65)361
Hoe!H_d!O^Wd              PO           16)0-4    11)043
GW!EW                     PO           /4)14.    /1)4/1
H[bWd_[!Red]!>^_          PO           65)414    55)54/
HWm_d!R_d!F^_d[           PO           24)//4    2.)2-1
R_d!HWm                   PO           42)325    35)-6/
Gm_d!NjWh!>ehf            IT           41)1.5    33)643   A[Z!DZ!IkcX[h
Ne[!<kd]!F^W_d]           ?@           .5)5-6    .3)6/5
O^ecWi!NWm!TWf            ?@          ..5)2.1   .-3)330
HWkd]!<kd]!IW_d]          IT           4.)2-5    31)024
<kd]!j^Wd                 IT           61)//.    51)466
=e!N_jj!F^_d[             IT          ./0)514   ...)13/
FoWm!Hoe!Je               G<           /.)15.    .6)000
Nfh_d]!Nki^_!DdY+         IT          .13)210   .0.)556   A[Z!DZ!IkcX[h
F^_d!j^_ZW!R_d            K<          ..3)-22   .-1)12-
UWm!CjWo                  K<          .14).5-   .0/)13/
UWm!O^khW!<kd]            K<          .5/)-/6   .30)5/3
F[`e                      IT           23).5-    2-)23/   A[Z!DZ!IkcX[h
O^Wd!O^Wd!CjWo            PO           23)35.    2.)-.0
T[!R_d                    IT          .3/)4/1   .13)12/
HWd]!Pa                   PO          .62)25-   .43)-//
H_dfef!GG>                PO           3.)-64    21)654   A[Z!DZ!IkcX[h
P!NWdZhW!RWhW             PO           4/)36-    32)1/.
Hoe!Fe!Fe!O_d             DG           1/)-5/    04)541
FoWm!O^k!TW!NWm           PO           02)4/2    0/).20
Gehod!HY>b[Wd             IT            5)-66     4)/56
QWd!O^Wmc!p_d]            PO          ..6)56-   .-4)6-.
O^[_d!He[                 IT           .-)231     6)2-5
>[k!Fkd]                  PO          ..-)-.1    66)-.0
IWm                       PO           50)0-.    41)64.
=bWa!Y^_d!KWh             PO           21)003    15)6-/
G_Wd!KWm                  PO           02)-65    0.)255
Cjee!HoWj!F^W_d]          IE           03)55.    00).60
HWkd]!O^[hd               PO           10)32/    06)/54
OhWYo!FoWm                IT           /5)231    /2)4-5
Pdh[WZWXb[                PO           /1)/30    /.)504
HWkd]!O!Je                IT           .6)516    .4)531
NWck[b!O^Wd]              PO           .1)226    .0).-0
m_d!Iokdj                 PO            .)0.-     .).46
Y^_j!N[_d                 IE          .25)6/.   .10)-/6
HWkd]!HWkd]!O^[j          IT          ..5)432   .-3)556
Gm_d!K^oe!HWkd]           IE          .-/)0-5    6/)-44
HWjj!I]kdjb_d]            IE           ./)564    ..)3-4
O_d!Rkj!T[[               H?          .43)1-.   .25)43.
dWdYo!HoW!HoW!NWkd]       IE          ./-)510   .-5)426
<kd]!G_d!Fok              IT           10)0//    05)66-
Z[ddo!Io[_dY^Wd!Okd       IE          ./3)-1-   ..0)103
P!CbW!CjWo                IE           0/)316    /6)051
N[aoW                     IE          0--)402   /4-)33/


222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                      DNTR!+*             R.UC11138;          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 72 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                          D[XVPd4!K7M!$+.%!23.2,.2


                                                           5`QV_!FRN^[Z4!5ZZ`NX
HoW!O^Wd                  IT          ./2)363   ..0)./3
Ikd!Pa!Jkd]               H?          .//)-2.   .-6)513
NjWYo!F^_d[ik!Je          IE          ./3)-/5   ..0)1/2
?Wl_Z!UW!O^kWd            IE          /00)-05   /-6)401
NWm!O^W!BWo               K<           16)-6/    11).50
Cjeed!HoWj!F^W_d]         IE           2-)640    12)543
FoWm!FoWm!Je              IE           55)63-    5-)-31
Okd!G_d                   G<          .12)/2.   .0-)4/3
=Wm_!Ck                   IE           4.)/06    31)..2
ie[!Iokdj                 IT           21).-1    15)361
F^W_d]!NWm!HoWj           I>           05)422    01)55-
OkWd!Ch[!O^bW!>[k         DI           13)415    1/)-40
HWjj!I]kdjb_d]            IE           35)66/    3/)-60
He[!O_cej^o!FoWm!^k       Q<           /2)332    /0)-66
UWhY^_!ie[!IW_d]          IE           02)6/-    0/)0/5
Oek!jek!F^_d[             G<           .3)216    .1)561
Ne[!CbW_d]                IE            1)64/     1)142
Cd_d!Fok                  IE            1)64/     1)142
jkWd]!UW!G_Wd             G<            /)10/     /).56
F^[d!F^kf!O^Wd]           G<            /)/.0     .)66/
FWkd]!Cj[j                DG          .24)433   .1.)656
TebWdZW!J^d!HWh!HoW       DG          /02)15/   /..)601
O^[_d!Ik                  >O          //4)032   /-1)3/6
F^_d!HWh!Y^e              ><          .60)1.-   .41)-36
Je!NWm!N^m[               >O          .14)536   .00)-5/
Tkd!!R[_!Nk               ><          .52)1/-   .33)545
FoWm!R_d                  ><          .22)1/.   .06)546
H_d!NWXW_                 ><          .-3)066    62)426
F^_d[!HWh!CWd             >W          .--)165    6-)115
ie[!O^Wd!J^d              HD            2)210     1)656
F^_d!F^_d!R_d             HD            2)210     1)656
F^eed!Fo_                 ><           02)-43    0.)235
QWd!G_Wd!=Wm_             DI          ..2)/11   .-0)4/-
OW!Ge!Oe[                 HI           1/)642    05)345
HoW!O^_ZW!R_d             ><          ...)1/.   .--)/46
HWkd]!EW!GW               ><           62)221    52)666
IWo!G_d!                  >O          /-/)424   .5/)15.
G_d!Fe!Fe!Koed[           ><          .34)405   .2-)631
UW!IWmb                   N>           51)323    43).6-
FoWm!O^Wd                 B<           4.)324    31)16.
o[!H_d!FoWm               ><           2.).54    13)-35
H_d!O^m[                  ><           3-).01    21)./.
HWkd]!Hoe                 HI           10).--    05)46-
=Wm_!Pa!K[d]              ><          ..6)653   .-4)654
NWbW_!NWck[b              DI           .3)11/    .1)465
GW^!>bWo                  Hd          ./1)-/3   ...)3/0
Io_!Io_!Ne[!HWkd]         HI           24)/--    2.)15-
UWm!Okd!<kd]              ><           /1)4-.    //)/0.
Ne[!He[!IW_d]             FN            5)152     4)304
OkWb!N_Wd!Nkc             DG           /2)2.6    //)634
O^Wd!O_d!HWkd]            OI           0-)610    /4)516


222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                       DNTR!++                            R.UC111391          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 73 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                          D[XVPd4!K7M!$+.%!23.2,.2


                                                               5`QV_!FRN^[Z4!5ZZ`NX
GWd]^!OkWd!O^Wd]          DG             .4)4-0       .2)600
Hee!bm[^!NWo              HI             .0).0/       ..)5.6
UWm!O^[_d!Je              ><             .3)6/-       .2)//5
P!Nkh_oW                  RD              2)45-        2)/-/
Fo_dj!G[!Y^mW             DG              /)03-        /)./1
HFN!Nki^_!DdY             IT            0./)/66      /5.)-36
jejWb                                .0)055)--/   ./)-16)/-0




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                           DNTR!+,                        R.UC111392          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 74 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                                                                                      D[XVPd4!K7M!$+.%!23.2,.2


                                                                                             5`QV_!FRN^[Z4!5ZZ`NX
!"#$$%&%'()(*+,

G`^UV!5aRZ`R!7N_R]VZT!>ZP(
.)+)+-!_[!2)3)+-!!!
C\R]N_VZT!`ZQR]!G`^UV!5aR!7N_R]VZT!>ZP(!!!
DR]!ARXV^^N!N_!NTRZPd&!_UV^!bN^!]R\[]_RQ!`ZQR]!VZ^`]RQ^!\[XVPd!NX^[

                                                                                                                                                       !"
                                          5)($$                                                                                                       #$%&'
  -./)#0,,%1(.,            2,$+"3/43#*    5#6,         7689$4.,*4$    7/";<9*%=>   <9);79?%=>       @A%B=CD            A#4()   E@A%B=CD      !"#$$ ()*+,-'!,.
                                                                                                                                                     /010234
!"#$$                                                                   &&56787     856#%5                          &7968#%               &7968#%
                                                                                                                          $
*;4<=>?4                                                                                             &6#9#            &6#9#
                                                                                                                          $
                                                                                                                          $
F9G%A#4()$                                                                                                                                &7968#%     &7968#%
A#4()%E@A%=CD                                                                                        &6#9#
                                                                                                                                                $           $
                                                                                                                                                $           $
                                                                                                                                                $           $
A#4()%79634,6%-H/#$9",$                                                                                                                   &7968#%     =IDJKL>




                     JR]VSVPN_V[Z!5ZNXd^V^

         E_](                                        7.#9*4
    ,0',,0.1*+
,ZQ!E`N]_R]',*+-                                           ..4)/64
-]Q!E`N]_R]',*+-                                            14)504
        ;XRc!+,/                                               016




)@=01'A4<>B>30=>@2-                                         &7968#%
C@<DEF44='G<@EE'H0I<@11-                                    &7968#%
J>BB4<4234-




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                                         DNTR!+-                                                      R.UC111393          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 75 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                                                                                                         D[XVPd4!K7M!$+.%!23.2,.2


                                                                                               5`QV_!FRN^[Z4!5ZZ`NX
!"#$$%&%'()(*+,

F9$M3%7N,*9,%O*+C
                                                                                                                       !"                                          !"         "Q
                                                                                                                      #$%&'       !"          !"         !"       '#58O     '#58O       H.
                                                    5)($$                                                            ()*+,-'     '##&$       'N$#O      '#58O   (.L,(H,+( (.L,(H,+(   '$#N5
     -./)#0,,%1(.,               2,$+"3/43#*        5#6,         7689$4.,*4$ 7/";P("%QR=K       A#4()        !"#$$    !,.      KL,+MK.L'* +,().P+.") (.L,(H,+(*     *         *     R.()SR**J'
                                                                                                                     /010234
!"#$$                                                                           O67%56O9O   O67%56O9O    O67%56O9O
Nj[f^[d!Fkc`_               <YYekdj_d]          !"T##&$TL&7"&KO,&'
                                                          '                        996$$$      996$$$                             996$$$
Ekd!G_Wd]                   <YYekdj_d]          !"T##&$TL&7"&KO,&'
                                                          '                        O$65$O      O$65$O                             O$65$O
E_bb_Wd!JXh_[d              HWha[j_d]           !"T##&$TL&7"&KO,&'
                                                          '                        %868O%      %868O%                             %868O%
O_c!Njeh[o                  HWha[j_d]           !"T##&$TL&7"&KO,&'
                                                          '                        8#6$%N      8#6$%N                             8#6$%N
Nj[f^[d!OecWi_d_            HWha[j_d]           !"T##&$TL&7"&KO,&'
                                                          '                        #$655#      #$655#                             #$655#
NjWYo!TWd]                  HWha[j_d]           !"T##&$TL&7"&KO,&'
                                                          '                         O6$&N       O6$&N                              O6$&N
HWik*>e                     M[ijWkhWdj!Kh[f     !"TN$#OTL&7"&KN,&'
                                                          '                       &%56%58     &%56%58                                        &%56%58
O^ecWi!MWm_jp[h!Eh          M[ijWkhWdj!H]h      !"TN$#OTL&7"&KN,&'
                                                          '                        %N6$$$      %N6$$$                                         %N6$$$
R_bb!N[b_d                  M[ijWkhWdj!H]h      !"TN$#OTL&7"&KN,&'
                                                          '                         &69%#       &69%#                                          &69%#
=h[dj!Neakf                 M[ijWkhWdj!H]h      !"TN$#OTL&7"&KN,&'
                                                          '                        %#687O      %#687O                                         %#687O
?Wd_[b!NfW                  M[ijWkhWdj!H]h      !"TN$#OTL&7"&KN,&'
                                                          '                        8O6O%&      8O6O%&                                         8O6O%&
F^_d[!Okd                   M[ijWkhWdj!H]h      !"TN$#OTL&7"&KN,&'
                                                          '                        %N6#$5      %N6#$5                                         %N6#$5
E[dd_\[h!Cebm[][h           M[Y[fj_ed_ij        !"T##&$TL&7"&KO,&'
                                                          '                         96O75       96O75                              96O75
I_Yeb[!EeoY[                M[Y[fj_ed_ij        !"T##&$TL&7"&KO,&'
                                                          '                         #6#$$       #6#$$                              #6#$$
M_Y^[hW!Ekd                 M[Y[fj_ed_ij        !"T##&$TL&7"&KO,&'
                                                          '                        &#6O$$      &#6O$$                             &#6O$$
@h_d!FebdX[h][h             <YYekdj_d]          !"T##&$TL&7"&KO,&'
                                                          '                        &#6#97      &#6#97                             &#6#97
F^_d!Ho_dj                  C[bfi!\eh!Z[ce      !"T#58OTL&7"&K&,&'
                                                          '                        &N6$99      &N6$99                                                    &N6$99
G_dZi[o!K[Z[hied            M[Y[fj_ed_ij        !"T##&$TL&7"&KO,&'
                                                          '                         O6%$8       O6%$8                              O6%$8
IWo!CbW                     Kh[i_Z[dj           !"T#58OTL&7"&K9,&'
                                                          H<>23>U01'M231VW4       %#86O5N     %#86O5N                                                             %#86O5N
IWo!G_d                     >JJ                 !"T#58OTL&7"&K&,&'
                                                          H<>23>U01'M231VW4       OO86587     OO86587                                                   OO86587
He[!Gm_d                    QK*A_dWdY[          !"T##&$TL&7"&KO,&'
                                                          H<>23>U01'M231VW4        #$6N98      #$6N98                             #$6N98
H_aae!>^kW                  M[]_edWb!Nkf[hl_ieh !"T#58OTL&7"&K&,&'
                                                          '                        %56#$#      %56#$#                                                    %56#$#
EWied!>ebb_di               ><*M[]_edWb!Nkf[hl !"T#58OTL&7"&K&,&'
                                                          '                        %%6%%N      %%6%%N                                                    %%6%%N
MoWd!?kcWf_                 IE*M[]_edWb!Nkf[hl "QT#58OTL%7"&KO,O'
                                                          '                        &%6#7$      &%6#7$                                                                        &%6#7$
Eei^kW!BhW[^b               M[]_edWb!Nkf[hl_ieh !"T#58OTL&7"&K&,&'
                                                          '                         86$85       86$85                                                     86$85
O[hho!Ced]                  M[]_edWb!Nkf[hl_ieh !"T#58OTL&7"&K&,&'
                                                          '                        &%6NO%      &%6NO%                                                    &%6NO%
Eei^kW!E_c_d[p              ><*M[]_edWb!Nkf[hl !"T#58OTL&7"&K&,&'
                                                          '                        O%6&87      O%6&87                                                    O%6&87
Coed]!F_c                   QK*Jl[hi[[i!M[]_edWb!Nkf[hl_iehi
                                                !"T#58OTL&7"&K&,&'
                                                          H<>23>U01'M231VW4        776$%%      776$%%                                                    776$%%
?Wd_[b!G_cXkh]              M[]_edWb!Nkf[hl_ieh !"T#58OTL&7"&K&,&'
                                                          '                        %76#&%      %76#&%                                                    %76#&%
EehZWd!G_iemia_             M[]_edWb!Nkf[hl_ieh !"T#58OTL&7"&K&,&'
                                                          '                        8%689$      8%689$                                                    8%689$
Eei[f^!H[j[h                K<*M[]_edWb!Nkf[hl H.T$N9&TLN5"&K%,&'
                                                          '                        8$689$      8$689$
<dZh[m!NWh][dj              M[]_edWb!Nkf[hl_ieh !"T#58OTL&7"&K&,&'
                                                          '                        &O69$$      &O69$$                                                    &O69$$
?N?!Kh[f                    I[m!E[hi[o          "QT#$%&TL%7"&K&,O'
                                                          '                        %86N7N      %86N7N
J(J'H<4U                    "4X'Y@<D            "YT#$%&TL&#"&KO,%'
                                                          '                       &$O6O9&     &$O6O9&




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                                              DNTR!+.                                                                R.UC111394              !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 76 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                          D[XVPd4!K7M!$+.%!23.2,.2


                                                           5`QV_!FRN^[Z4!5ZZ`NX



                ML
    "Y        '#$%&      "Q              H.
  '#$%&      ()*+,-'   '#$%&           '$N9&
()*+,-'RM(     !,.   ()*+,-'RM(      *P)(MJ,'(.




                                         8$689$

                         %86N7N
  &$O6O9&




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                       DNTR!+/                            R.UC111395          !2)1),*+.
                       CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                     36 Filed 11/14/16 Page 77 of 125
                                                     @VOR]_d!A`_`NX!>Z^`]NZPR
                                                   >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                                                                                             D[XVPd4!K7M!$+.%!23.2,.2


                                                                                     5`QV_!FRN^[Z4!5ZZ`NX
                                                                                         $
F9G%A#4()$                                                                                     O67%56O9O   #5O6#ON   %596%8O    ON#68&O    9&86#7$     %#86O5N    &%6#7$        $
S,$$%E"3*+3/()                                                          5976$&O    5976$&O      Z5976$&O[        $   Z#$6N98[             ZON$655N[   Z%#86O5N[
E"3*+3/()%(4%P(H                                                                                 &#76%7#                                    N%6&#8      N%6&#8
E"3*+3/()%(4%7+49()                                                                              &876N#5              #$6N98                776$%%
                                                                                                       $         $
+*33                                 DG     MLT#$%&TL&"&KO,9'
                                                      '                           O6%7967#%    O6%7967#%         $
+*33                                 IE     "QT#$%&TL%7"&K&,O'
                                                      '                           &68#969NN    &68#969NN         $
+*33                                 IT     "YT#$%&TL&#"&KO,%'
                                                      '                           O6$8#658$    O6$8#658$         $
+*33                                 K<     H.T$#N5TLN5"&K&,8'
                                                      '                             #896N%7      #896N%7         $                                                         #896N%7
+*33                                 !"     !"T#$%&TL&7"&K5,&'
                                                      '                           96%$%6O88    96%$%6O88 96%$%6O88
                                                                                                       $         $
                                                                                                       $         $
A#4()%79634,6%-H/#$9",$                                                                       &86O7%65N5 IJ=TIJRT>   >TDJ>KQ    QULJK=Q   >L>JQUL      U>J=LK     =>JLIR   LKDJU>I




                            JR]VSVPN_V[Z!5ZNXd^V^

           E_](                                         7.#9*4
        ,*'*/+,30
  ,ZQ!E`N]_R]',*+-                                           350)-21
  -]Q!E`N]_R]',*+-                                           26-)-.6
  ._U!E`N]_R]',*+-                                           415)005
  +^_!E`N]_R]',*+.                                           255)332
   ;=+,/'8RP!LH8                                              01)/41
;=+,/'AN]PU!,*+-!!LH8                                         *4)-65




   A#4()%V,"3W3+(43#*X                                      O67%56O9O
 Y#"Z$M,,4%!"#$$%E(0"#))X                                   O67%56O9O
       23WW,",*+,X




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                                                    DNTR!+0                                                               R.UC111396             !2)1),*+.
                        CASE 0:15-cv-04112-ADM-DTS Document
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.
                                                                      36 Filed 11/14/16 Page 78 of 125
                                                      @VOR]_d!A`_`NX!>Z^`]NZPR
                                                    >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                                                           D[XVPd4!K7M!$+.%!23.2,.2


                                                            5`QV_!FRN^[Z4!5ZZ`NX

  &$O6O9&          $      %86N7N       8$689$




            O6%7967#%
                        &68#969NN
O6$8#658$




QJ=DRJUU= QJ>IDJIL> =JDQRJDIL          KRJKDR




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                        DNTR!+1                            R.UC111397          !2)1),*+.
                           CASE 0:15-cv-04112-ADM-DTS
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 79
                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                    >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                       5`QV_!FRN^[Z4!5ZZ`NX




@dj_jo!_i!W!>ehfehWj_ed

CSSVPR]!5QW`^_YRZ_^

                                 ODOG@,I<H@                    N<G<MT       >J?@       DI>GP?@?

KM@ND?@IO*I<T!CG<                                                 051)/46       541/     60).51
?POD@N7!H<MF@ODIB

QD>@*KM@ND?@IO*CTJIB!FDH                                           33)-00       541/     33)-00
?POD@N7!JK@M<ODJIN!*!OM<Q@GN!OJ!OC@!BMJ>@MT!NOJM@N!OJ!
DINK@>O)!H<F@N!NPM@!OC@!AJJ?!N<A@OT!G<RN!<M@!=@DIB!H@O)!
LP<GDOT

QD>@*KM@ND?@IO*I<T!GDI                                            //1)413       541/     60).51
?POD@N7!JK@M<ODJIN!*!OM<Q@GN!OJ!OC@!BMJ>@MT!NOJM@N!OJ!
DINK@>O)!H<F@N!NPM@!OC@!AJJ?!N<A@OT!G<RN!<M@!=@DIB!H@O)!
LP<GDOT

QD>@*KM@ND?@IO*HJ@!GRDI                                            5-)621       55.-     5-)621
?POD@N7!>JIOMJGG@M




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                  DNTR!+2                               R.UC111398   !2)1),*+.
                           CASE 0:15-cv-04112-ADM-DTS
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 80
                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                    >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                       5`QV_!FRN^[Z4!5ZZ`NX




FRP[]Q^!FRaVRbRQ
K<TMJGG!EJPMI<G

JR]VSVPN_V[Z!FRP[]Q^!FRaVRbRQ
.-66!N!&>JHH+'
61.!N+N+!&LOM+'

>ZS[]YN_V[Z!FRPRVaRQ!;][Y4

NO@KC@I!FPHED
562!=GP@!B@IOD<I!M?!3
N<DIO!K<PG)!HI!!22./.
KCJI@!IJ+7!&62/'!55.*33-.
@H<DG!<??M+7!NO@KC@I;NPNCD<Q@IP@+>JH




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                  DNTR!+3                          R.UC111399      !2)1),*+.
                           CASE 0:15-cv-04112-ADM-DTS
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 81
                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                    >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                       5`QV_!FRN^[Z4!5ZZ`NX




             G`YYN]d!E`R^_V[Z^

        .+   C<N!OC@!G@B<G!@IODOT)!I<H@!JA!@IODOT!JM!<??M@NN!>C<IB@?9                                  IJ
        /+   <GG!@IODOD@N!<I?,JM!GJ><ODJIN!DI>GP?@?9                                                   T@N
        0+   R@M@!<GG!>G<NN!>J?@N!<>>JPIO@?!AJM9                                                       T@N
        1+   R@M@!<IT!=<ND>!>G<NN!>J?@N!<??@?!JM!?@G@O@?9                                              T@N
        2+   R@M@!>G<DHN!Q@MDAD@?!<I?!>G<DHN!IJODAD@?!JA!<IT!HDN*>G<NNDAD@?!>G<DHN9                    T@N
        3+   <IT!NP=>JIOM<>OJMN!JM!><NP<G,>JIOM<>O!JM!G@<N@?!G<=JM!PN@?9!!DI?@K@I?@I>@!Q@MDAD@?9       T@N

        4+   DA!NP=N!PN@?)!>JDN!<?@LP<O@9                                                              IJ
        5+   ?J!@HKGJT@@N!M@>@DQ@!JQ@MODH@)!M@>JM?N!M@AG@>O!JQ@MODH@!K<T9                              IJ
        6+   ?J@N!OCDN!<P?DO!M@LPDM@!M@QD@R9                                                           T@N
       .-+   <GG!M@HPI@M<ODJI!NP>C!<N!KM@O<S!DO@HN)!N@Q@M<I>@)!=JIPN@N)!ODKN)!CJPNDIB)!@O>!KMJK@MGT!   T@N
             <>>JPIO@?!AJM9
       ..+   C<N!<Q@M<B@!IPH=@M!JA!@HKGJT@@N)!=T!GJ><ODJI)!=@@I!NCJRI!AJM!<LN!<I?!DHN!<P?DON9          I<
       ./+   OC@!<P?DO!K@MDJ?!DN!RDOCDI!.2!?<TN!JA!OC@!KJGD>T!K@MDJ?9                                  T@N
       .0+   <M@!<GG!@I?JMN@H@ION!<??M@NN@?9                                                           T@N
       .1+   <M@!I@R!JM!>C<IB@N!DI!@I?JMN@H@ION!M@LPDM@?9                                              IJ
       .2+   M@NJPM>@N!NP>C!<N!DINK@>ODJI!M@KJMON)!H<IP<GN)!R@=NDO@N)!@O>+!M@QD@R@?!?PMDIB!<P?DO!      T@N
             KMJ>@NN9
       .3+   @SKJNPM@!Q<MD<I>@N!(,*!/-$!@SKG<DI@?9                                                     T@N
       .4+   R<N!@SDO!DIO@MQD@R!>JI?P>O@?9!&@SKG<DI!DI!>JHH@ION+!DA!T@N)!RDOC!RCJH9!DA!IJ)!RCT!IJO9'   T@N




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                  DNTR!,*                             R.UC11139;   !2)1),*+.
                           CASE 0:15-cv-04112-ADM-DTS
D[XVPd!DR]V[Q4!-)+3),*+-'-)+3),*+.                         Document 36 Filed 11/14/16 Page 82
                                                 @VOR]_d!A`_`NX!>Z^`]NZPR                       of 125
                                                                                            D[XVPd4!K7M!$+.%!23.2,.2
                                                             >Z^`]RQ4!GIG=>!5J9BI9!>B7
                                                                5`QV_!FRN^[Z4!5ZZ`NX




B[_R^


O^[h[!mWi!W!8!/-$![nfeikh[!lWh_WdY[!X[jm[[d!WkZ_j[Z!WdZ!_iik[Z![nfeikh[i!Zk[!je7!DdYbki_ed
e\!DdZ[f[dZ[dj!>edjhWYjehi
@n_j!_dj[hl_[m!mWi!YedZkYj[Z!m_j^!Nj[f^[d!Fkc`_+


5`QV_!FRP[YYRZQN_V[Z4!!!!!!!!!


                                 !!!


I_Yeb[!Z_iYkii[Z!m_j^!j^[!W][dj!WdZ!WZl_i[Z!j^[c!j^Wj!m[!mekbZ!]_l[!j^[!_dikh[Z!0-!ZWoi!je
][j!Khee\!e\!DdikhWdY[)!eh!WZZh[ii!m^o!j^[o!m[h[d%j!h[gk_h[Z!je!YWhho!_j!_d!j^[!NjWj[
j^[o!m[h[!beYWj[Z!_d+!!Iej^_d]!mWi!h[Y[_l[Z+

<j!I_Yeb[%i!h[gk[ij)!D!YedjWYj[Z!j^[!_dikh[Z!edY[!W]W_d!WdZ!WZl_i[Z!j^Wj!D!mekbZ!^ebZ!j^[
WkZ_j!\eh!jme!ceh[!m[[ai+!!Iej^_d]!mWi!h[Y[_l[Z+

OejWb!DdZ[f[dZ[dj!>edjhWYjeh!bWXeh!mWi!#.0)055)--/+!!!O^_i!_i!bWXeh!Wbed[+!!!>eij!e\
cWj[h_Wbi!_i!Z[ZkYj[Z!fh_eh!je!j^[!fWoc[dj+!!!D!^Wl[!_dYbkZ[Z!Wj!6-$!e\!Wcekdj!fW_Z+
@_]^j!^WZ!A[Z[hWb!DZ!IkcX[hi+

>edjhWYj!YWd!X[!beYWj[Z!_d!>KA+

PdZ[hmh_j_d]!H]h!I_Yeb[!Meo!Wffhel[Z!_dYbki_ed!e\!ikXYedjhWYj!bWXeh!XWi[Z!ed!j^[!_dikh[Zqi
ded*Yeef[hWj_ed!m_j^!ekh!Wjj[cfji!je!fhel[!_dZ[f[dZ[dj!ijWjki+!!N^[!Wbie!Wffhel[Z
_dYbkZ_d]!Wdo!ijWj[i!dej!b_ij[Z!ed!j^[!feb_Yo)!kdZ[h!H_dd[iejW)!i_dY[!kdWXb[!je!eXjW_d
[nWYj!WZZh[ii[i+




222.4001R>V/-.1-0.6/-.0-0.6/-.1-0.6-.+nbic                              DNTR!,+              R.UC1113;1      !2)1),*+.
CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 83 of 125


                       !
                       Vjcpm!{qw!hqt!dtkpikpi!vjku!vq!o{!cvvgpvkqp/!K!ecp!ugg!yjgtg!vjgtg!ku
                       eqpegtp!hqt!vjku!ceeqwpv!cpf!yqwnf!crrtgekcvg!kh!{qw!yqwnf!jqnf!qhh
                       rtqeguukpi!vjg!cwfkv!cv!vjku!vkog/!K!dgnkgxg!yg!pggf!vq!eqpuwnv!qwt
                       ngicn!fgrctvogpv!qp!uqog!qh!vjg!kvgou!kp!vjg!eqpvtcev!{qw!ugpv!og!c
                       eqr{!qh/!Vjku!oc{!vcmg!c!yggm!qt!vyq!dghqtg!yg!tgegkxg!c!tgurqpug
                       cpf!K!yknn!dg!kp!vqwej!ykvj!{qw!qp!vjg!ceeqwpv/
                       !
                       Eqwnf!{qw!rngcug!xcnkfcvg!vjg!kpuwtgf!jcu!pq!egtvkhkecvgu!qh
                       kpuwtcpeg!hqt!yqtm!eqor!eqxgtcigA![qwt!uvcvgogpv!dgnqy!uc{u!vq
                       o{!mpqyngfig!cpf!K!ycpv!vq!eqphkto!rtkqt!vq!tgcejkpi!qwv!vq!ngicn/
                       Cnuq-!kh!{qw!jcxg!cp{!qvjgt!kphqtocvkqp!qt!fqewogpvu!{qw!hggn!yqwnf
                       dg!wughwn!cu!yg!eqpuwnv!vjg!ngicn!fgrctvogpv!rngcug!hqtyctf/
                       !
                       K!yqwnf!crrtgekcvg!kh!{qw!yqwnf!Tgrn{!Cnn!vq!vjku!gockn!kp!{qwt
                       tgurqpug/
                       !
                       Ngv!og!mpqy!kh!{qw!jcxg!cp{!swguvkqpu/
                       !
                       Vjcpm!{qw-
                       Catie Sebolt, CPCU, AU-M
                       Eqoogtekcn!Nkpgu!Wpfgtytkvgt
                       Liberty Mutual Insurance®
                       2356!Lqtfcp!Etggm!Rctmyc{
                       Yguv!Fgu!Oqkpgu-!KC!61377
                       Vqnn!Htgg!2.911.858.8944!gzv!92;96
                       Fktgev!)626*!582.4896
                       Ecvkg/UgdqnvBNkdgtv{Owvwcn/eqo
                       #
                       !
                       !
                       !
                       From: Mathison, Dawn
                       Sent: Friday, April 04, 2014 2:03 PM
                       To: Sebolt, Catie
                       Subject: Sushi Avenue WC 8948248
                       #
                       Jk!Ecvkg-
                       !
                       K!co!yqtmkpi!qp!vjg!cwfkv!hqt!Uwujk!Cxgpwg/!!!Vjg{!crrctgpvn{!twp
                       vjg!itqegt{!uvqtg!uwujk!vjtqwijqwv!vjg!eqwpvt{/!!!Vjg{!ngcug!vjg
                       urceg!kp!vjg!itqegt{!uvqtgu-!vjgp!jktg!Kpfgrgpfgpv!Eqpvtcevqtu!vq
                       yqtm!kv/!!!Vjg!Kpfgrgpfgpv!eqpvtcevqtu!rtgrctg-!rcemcig!cpf!fkurnc{
                       vjg!uwujk/!!!Ewuvqogtu!rc{!hqt!vjg!uwujk!cv!vjg!ejgemqwv/!!!Vjg!uvqtg
                       rc{u!vjg!kpuwtgf!hqt!vjg!Uwujk!uqnf/!!!Vjg!kpuwtgf!rc{u!vjg
                       Eqpvtcevqt!c!eqookuukqp-!nguu!cp{vjkpi!vjg!Eqpvtcevqt!qygu!vjg
                       kpuwtgf!hqt!uwrrnkgu/!
                       !
                       Chvgt!fkuewuukpi!ykvj!vjg!qvjgt!cwfkvqtu!kp!vjg!tgikqp-!yg!vjkpm!vjgtg
                       gzkuvu!cp!Gornq{gg0Gornq{gt!tgncvkqpujkr!dgvyggp!vjg!Kpuwtgf!cpf
                       vjgkt!Eqpvtcevqtu/!!!Kxg!cvvcejgf!vjg!eqpvtcev!vjcv!ku!ukipgf!ykvj!cnn
                       vjg!eqpvtcevqtu!cpf!jcxg!jkijnkijvgf!vjg!ctgcu!vjcv!lwor!qwv!cv!og/!
                       !
                       Vjg!eqpvtcev!urgekhkgu!yjcv!jqwtu!'!fc{u!vjg!eqpvtcevqtu!ctg
                       yqtmkpi
                       !
                       Uwujk!owuv!dg!rtgrctgf-!fkurnc{gf!cpf!uqnf!cu!vjg!Eqpvtcevqt!ycu
                       vtckpgf!d{!vjg!Kpuwtgf
                       !
                       Vjg{!ecp!qpn{!ugnn!pgy!kvgou!ykvj!vjg!crrtqxcn!qh!vjg!kpuwtgf
                       !
                       Eqpvtcevqt!citggu!vq!yqtm!gzenwukxgn{!hqt!vjg!kpuwtgf-
                       !
                       Eqpvtcevqt!jcu!c!6!{gct!pqp!eqorgvg!ykvjkp!61!okngu!wrqp                  EXHIBIT
                       vgtokpcvkqp!qh!vjg!eqpvtcev!!ykvj!qt!ykvjqwv!ecwug!!uq!dcukecnn{
                                                                                                    5

                                                                                       R.UC1117;3
CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 84 of 125


                       Subject: RE: Sushi Avenue WC 8948248
                       #
                       Evi#}sy#jvii#xlmw#ejxivrssrC##Fijsvi#M#tyx#xskixliv#er#iqemp/#M#{erx#xs#xepo
                       xs#}sy#uymgop}#efsyx#{lex#M#eq#xlmromrk#{i#hs#sr#xlmw1
                       #
                       Nicole Roy
                       Eqoogtekcn!Nkpgu!Wpfgtytkvkpi!Ocpcigt
                       Dwukpguu!Kpuwtcpeg
                       Nkdgtv{!Owvwcn!Kpuwtcpeg
                       812!Zgpkc!Cxgpwg!Uqwvj
                       Okppgcrqnku-!OP!!66527
                       Fktgev!Fkcn<!874.6;6.4131
                       Egnn<!!762.581.2553
                       #
                       From: Mathison, Dawn
                       Sent: Friday, May 30, 2014 11:28 AM
                       To: Roy, Nicole
                       Subject: RE: Sushi Avenue WC 8948248
                       #
                       Ko!uvknn!jqnfkpi!vjku-!tkijvA
                       !
                       Dawn Mathison, CPCU, AU, APA
                       Ugpkqt!Rtgokwo!Cwfkvqt
                       Rtgokwo!Cwfkv!Ugtxkegu
                       Nkdgtv{!Owvwcn!Kpuwtcpeg
                       !
                       Y495!P854;!Eqvvqpyqqf!Ev/
                       Qeqpqoqyqe-!YK!!64177
                       Egnn<!!525.416.684;
                       Hcz<!!977.91;.8917
                       fcyp/ocvjkuqpBnkdgtv{owvwcn/eqo
                       !
                       !
                       From: Roy, Nicole
                       Sent: Thursday, May 08, 2014 12:00 PM
                       To: Mathison, Dawn; Sebolt, Catie
                       Subject: RE: Sushi Avenue WC 8948248
                       #
                       Lm#He{r1##M#hmh#vigimzi#mrjs#fego#jvsq#pikep1##[mpp#xeoi#qi#e#gsytpi#sj#he}w
                       xs#vyr#xlvsykl#erh#fi#fego#{mxl#}sy1##nywx#{erxih#xs#kix#}sy#er#ythexi1
                       #
                       Nicole Roy
                       Eqoogtekcn!Nkpgu!Wpfgtytkvkpi!Ocpcigt
                       Dwukpguu!Kpuwtcpeg
                       Nkdgtv{!Owvwcn!Kpuwtcpeg
                       812!Zgpkc!Cxgpwg!Uqwvj
                       Okppgcrqnku-!OP!!66527
                       Fktgev!Fkcn<!874.6;6.4131
                       Egnn<!!762.581.2553
                       #
                       From: Mathison, Dawn
                       Sent: Monday, April 28, 2014 12:39 PM
                       To: Sebolt, Catie
                       Cc: Roy, Nicole
                       Subject: FW: Sushi Avenue WC 8948248
                       #
                       Yg!ctg!uvknn!yckvkpi!vq!jgct!dcem!htqo!ngicn!qp!vjku-!eqttgevA
                       !
                       !
                       !
                       From: Sebolt, Catie
                       Sent: Tuesday, April 08, 2014 12:07 PM
                       To: Mathison, Dawn
                       Cc: Roy, Nicole
                       Subject: RE: Sushi Avenue WC 8948248                                       EXHIBIT
                       #
                       Jk!Fcyp-                                                                       6


                                                                                             R.UC1117;2
    CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 85 of 125


From:             Slaski, James
To:               Mathison, Dawn
Subject:          RE: Sushi Avenue WC 8948248
Date:             Tuesday, August 05, 2014 9:18:48 AM



Lm#He{r##Xlerow#jsv#wirhmrk#fijsvi#xverwqmxxmrk1##Ekviih/#fewih#sr#xli#eki/#fiwx#xs#lezi#xlmw#sri
vmklx#fijsvi#wirhmrk#sjj1
#
Mr#}syv#I|gip#Jmpi#sr#xli#Wywlm#Eziryi#Mrg#xef/#xlivi#mw#e#gmvgypev#vijivirgi#sr#mr#Gipp#J87#xlex
wlsyph#fi#gsvvigxih1##Mx#hsiwrx#ettiev#xs#ejjigx#er}#jsvqypew/#fyx#wlsyph#fi#jm|ih/#vikevhpiww1
#
Nywx#xs#ezsmh#er}#uyiwxmsrw#sr#e#UV#vizmi{/#sr#}syv#Eyhmx#Vigsqqirhexmsr#wigxmsr#sj#xli#thj/
ehh#xlex#Yrhiv{vmxmrk#Qkv#Rmgspi#Vs}#ettvszih#mrgpywmsr#sj#wyfgsrxvegx#pefsv#fewih#sr#xli
mrwyvihw#rsr0gsstivexmsr#{mxl#syv#exxiqtxw#xs#tvszi#mrhitirhirx#wxexyw1##Wli#epws#ettvszih
mrgpyhmrk#er}#wxexiw#rsx#pmwxih#sr#xli#tspmg}/#yrhiv#Qmrriwsxe/#wmrgi#yrefpi#xs#sfxemr#i|egx
ehhviwwiw1
#
Pssow#kssh1##Xlir#wirh#sjj1
#
Nmq#Wpewom##GTGY/#ETE/#QFE
Pmfivx}#Qyxyep#Mrwyvergi
Eyhmx#Wivzmgiw#0#Jmiph#Eyhmx#Qerekiv+E^/#GS/#QR/#RQ/#RZ/#YX/#[M/#[],
#
From: Mathison, Dawn
Sent: Monday, August 04, 2014 9:20 PM
To: Slaski, James
Subject: Sushi Avenue WC 8948248
#
K!hkpcnn{!hkpkujgf!vjku/!!!Kv!ku!vjg!OP!cwfkv!vjcv!jcf!Kpfgrgpfgpv!Eqpvtcevqtu!ocmkpi!!Uwujk!kp
vjg!Itqegt{!uvqtgu/!!

!Pkeqng!tgxkgygf!vjg!eqpvtcev!hqt!c!eqwrng!qh!yggmu-!vjgp!yg!jcf!vq!yckv!hqt!Ngicn!vq
tgxkgy/!
Vjgp!ujg!icxg!vjg!cigpv!41!fc{u!vq!igv!vjg!kpuwtgf!vq!cfftguu!vjg!YE!kuuwg!ykvj!vjg
Kpfgrgpfgpv!Eqpvtcevqtu/!!

Vjgp!ujg!ycpvgf!og!vq!eqpvcev!vjg!Kpuwtgf!qpg!ncuv!vkog!cpf!jqnf!kv!hqt!vyq!yggmu/!!!Uq
jgtg!yg!ctg!231,!fc{u!htqo!yjgp!K!fkf!vjg!cwfkv!/!!)Crtkn!3*!!K!ejctigf!hqt!%23-111-111!kp
21;;!ncdqt/!
!
Ko!uwtg!{qw!yknn!jcxg!vjku!ugpv!vq!{qw!cu!cp!Nctig!Cffkvkqpcn!Rtgokwo/!!!Fq!{qw!ycpv!vq
tgxkgy!kv!qp!vjg!htqpv!gpf!!dghqtg!kv!iqgu!vq!rtqeguukpiA!!Qt!yckv!vknn!chvgt/!!!Ko!iwguukpi
vjgtg!yknn!dg!uqog!ngicn!kpxqnxgf!cv!uqog!rqkpv/!
!
Kxg!cvvcejgf!kv!cu!dqvj!c!RFH!cpf!cp!Gzegn!kh!{qw!ycpv!vq!nqqm!cv!kv/!!!Cnuq!cvvcejgf!vjg
eqpvtcev!kh!{qw!ctg!kpvgtguvgf/!!
!                                                                                           EXHIBIT
Kh!{qw!ycpv!og!vq!iq!cjgcf!cpf!ugpf!kv!kp!!ngv!og!mpqy/!!!Kvu!cntgcf{!vq!iq/
!                                                                                              7

                                                                                         R.UC111637
CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 86 of 125




                                                                       EXHIBIT
                                                                          8
                                                            ."/-##)$''
CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 87 of 125




                                                            ."/-##)$'(
CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 88 of 125




                                                            ."/-##)$')
CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 89 of 125




                                                                          EXHIBIT
                                                                             9
                                                             R.UC112556
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                                                             R.UC112557
       CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 91 of 125


            cpf!cfokpkuvtcvkxg!equvu!vjcv!vjg!Eqpvtcevqt!qygu!vjg!qypgt/!
            !
            Uwujk!Cxgpwg!tgn{!u!qp!vjg!eqpvtcevqtu!vq!rc{!vjg!Uvqtg!41&!qh!yjcv!vjg{!ctg!rckfA!!Yjcv!ku!vjg!41&!hqtA!!!Fqgupv
            vjg!uvqtg!eqorgpucvg!vjg!Uwujk!Cxg!htqo!vjg!uecppgf!ucngu!!cpf!vcmg!vjgkt!ewv!cv!vjcv!rqkpvA!
            !
            Yj{!yqwnf!Uwujk!Cxgpwg!kpenwfg!vjgkt!21&!ewv!kp!vjg!21;;uA!
            !
            Kf!jcxg!vq!ugg!rcrgt!gxkfgpeg!qh!vjku/!!
            !
            !
            K!uvknn!hggn!vjgtg!ku!ukipkhkecpv!Fktgevkqp!cpf!Eqpvtqn/!!!Yj{!pqv!Egtvkhkecvgu!qh!KpuwtcpegA!!!Kh!vjg{!jcxg!pq!gornq{ggu-
            vjg{!ecp!igv!c!okpkowo!rtgokwo!rqnke{/!!
            !
            !
            !
            !
            Dawn Mathison, CPCU, AU, APA
            Ugpkqt!Rtgokwo!Cwfkvqt
            Rtgokwo!Cwfkv!Ugtxkegu
            Nkdgtv{!Owvwcn!Kpuwtcpeg
            !
            Y495!P854;!Eqvvqpyqqf!Ev/
            Qeqpqoqyqe-!YK!!64177
            Egnn<!!525.416.684;
            Hcz<!!977.91;.8917
            fcyp/ocvjkuqpBnkdgtv{owvwcn/eqo
            !
            !
                    From: Melissa Marroquin [mailto:melissa@horniginsurance.com]
                    Sent: Wednesday, September 10, 2014 8:56 AM
                    To: Mathison, Dawn
                    Cc: Roy, Nicole
                    Subject: Re: Sushi Avenue


                    Jgnnq"
                    K!lwuv!iqv!qhh!vjg!rjqpg!ykvj!vjg!kpuwtgf!cpf!vjku!ku!yjcv!yg!fkuewuugf////
                    Vjg!coqwpvu!vjcv!ctg!nkuvgf!qp!vjg!21;;(u!ctg!vjg!itquu!coqwpv!rckf!vq!gcej!uwdeqpvtcevqt!vjcv!kpenwfg!rc{ogpv!hqt!vjg
                    hqnnqykpi<!41&!vq!vjg!uwrgtoctmgv-!41&!equv!qh!uwrrnkgu-!41&!hqt!vjg!eqpuvtwevkqp!qh!vjg!uwujk-!cpf!21&!hqt!vjg!Uwujk!Cxg
                    ewv/!
                    Jg!uvcvgu!vjcv!oquv!ctg!uqng!rtqrtkgvqtu!dwv!vjcv!vjgtg!oc{!dg!c!vgco!yjgtg!c!hcokn{!ogodgt!cnuq!yknn!eqpuvtwev!vjg!uwujk/
                    Jg!ku!yknnkpi!vq!jcxg!gcej!uwdeqpvtcevqt!ukip!c!hqto!yjgtg!vjg{!gcej!uvcvg!gzcevn{!yjq!rgthqtou!vjg!eqpuvtwevkqp!qh!vjg
                    uwujk!cpf!vjg!tgncvkqpujkr!vq!vjg!uwdeqpvtcevqt/
                    Yqwnf!vjku!dg!uwhhkekgpvA


                    Oqxkpi!hqtyctf!jg!yqwnf!nkmg!vq!mpqy!yjcv!ecp!dg!fqpg-!qvjgt!vjcp!vjg!rwtejcug!qh!c!yqtm!eqor!rqnke{!d{!gcej
                    uwdeqpvtcevqt!vq!cxqkf!vjg!kpenwukqp!qh!vjg!uwdeqpvtcevqtu!qp!vjg!yqtm!eqor!rqnke{/


                    Vjcpm!{qw"
                    Ognkuuc!
                    !

                    Qp!Ugrvgodgt!6-!3125!13<22<51!RO!EFV-!#Ocvjkuqp-!Fcyp#!>FCYP/OCVJKUQPBnkdgtv{owvwcn/eqo@!ytqvg<

                    !
                    Jk!Ognkuuc-
                    !
                    K!fkf!c!itgcv!fgcn!qh!tgugctej!vqfc{!cu!vq!yjcv!ku!pggfgf!kp!P[-!KN!cpf!OP!vq!tgnkgxg!Uwujk!Cxgpwg!qh
                    vjg!Gornq{gg0Gornq{gt!uvcvwu!hqt!vjgkt!Kpfgrgpfgpv!Eqpvtcevqtu/!!Kxg!cvvcejgf!uwrrqtvkpi!fqewogpvu
                    hqt!gcej/
                    !
                    KN
                    Vjg!Uvcvg!qh!Knnkpqku!tgswktgu!cp{!eqpvtcevqt!yqtmkpi!kp!yjcv!vjg{!eqpukfgt!cp!Gzvtc!jc|ctfqwu
                    Qeewrcvkqp!vq!ectt{!Yqtmgtu!Eqorgpucvkqp/!!!Vjg{!ecp!gzenwfg!vjgougnxgu!htqo!vjg!rqnke{!kh!vjg{
                    fguktg-!dwv!vjg{!ctg!tgswktgf!vq!jcxg!c!rqnke{/!!Kxg!cvvcejgf!cp!gzrncpcvkqp!htqo!KYEE!cnqpi!ykvj!c!nkuv
                    qh!yjcv!ku!eqpukfgtgf!vq!dg!Gzvtc!Jc|ctfqwu/!!)cnoquv!cp{vjkpi!qvjgt!vjcp!engtkecn*
EXHIBIT             Vjg!KN!Kpfgrgpfgpv!Eqpvtcevqtu!ygtg!rckf!coqwpvu!qh!%5;;-;;5=!%456-1;6=!%591-32;!cpf!%456-!1;6

  10
                                                                                                                              R.UC11145;
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         vq!pcog!c!hgy/!!!Vjg{!fghkpkvgn{!jcxg!gornq{ggu/!!!!
         !
         IL Contractors need a Workers Compensation policy/
         !
         Pgy![qtm
         Kxg!cvvcejgf!c!fqewogpv!htqo!vjg!Eqpuvtwevkqp!Kpfwuvt{!Hckt!Rnc{!Cev/!!Kp!vjg!ugevkqp!Kfgpvkh{kpi
         Kpfgrgpfgpv!Eqpvtcevqtu!kp!Pqp!Eqpuvtwevkqp!Kpfwuvtkgu!K!hqwpf!8!hcevqtu!vjcv!yqwnf!pqv!uwrrqtv!cp
         Kpfgrgpfgpv!Eqpvtcevqt!twnkpi!qxgt!cp!Gornq{gg/
         Qpg!ku!c!Hgfgtcn!KF!pwodgt-!cpf!cpqvjgt!ku!c!Igpgtcn!Nkcdknkv{!Kpuwtcpeg!Rqnke{!qt!Yqtmgtu
         Eqorgpucvkqp!Rqnke{!kh!crrtqrtkcvg/!!!Ugxgtcn!qh!vjg!P[!gpvkvkgu!ygtg!eqorgpucvgf!kp!cp!coqwpv!vjcv
         yqwnf!kpfkecvg!vjg{!jcxg!gornq{ggu/!!!Ugxgtcn!cntgcf{!jcxg!Hgfgtcn!KF!pwodgtu/!

         OP!
         K!fkuewuugf!vjku!ykvj!vjg!Uvcvg!Fgrctvogpv!qh!Ncdqt!cpf!Kpfwuvt{/!!!Wpfgt!vjg!Okppguqvc!Cfokpkuvtcvkxg
         Twngu!!Igpgtcn!Etkvgtkc!hqt!Pqp!Eqpuvtwevkqp-!Twng!6335/1441!cpf!Twng!6335/1451!rtqxkfg!vjg
         etkvgtkc/!!!Kxg!kpfkecvgf!yjgtg!vjg!kpuwtgf!uvcpfu!qp!gcej!rqkpv/
         Qp!vjg!Eqpvtqn!qh!Ogvjqf-!vjgtg!ku!kpfkecvkqp!qh!Eqpvtqn!qp!;!qh!vjg!25!rqkpvu/!!
         Qp!Hcevqtu!vq!Eqpukfgt!vjg{!yqwnf!dg!eqpukfgtgf!Gornq{ggu!qp!7!qwv!qh!9!rqkpvu/
         !
         Cnuq!Uvcvwvg!287/326!uvcvgu!vjcv!Yjgtg!c!Uwdeqpvtcevqt!hcknu!vq!eqorn{!ykvj!vjg!Yqtmgtu
         Eqorgpucvkqp!tgswktgogpv-!vjg!Igpgtcn!Eqpvtcevqt!)Uwujk!Cxg*!ku!nkcdng!hqt!rc{ogpv!qh!cnn
         eqorgpucvkqp!fwg!cp!gornq{gg/!!
         !
         !
         Vjg!Gornq{ogpv!Eqpvtcev!rtqxkfgu!uwej!c!uvtkev!coqwpv!qh!eqpvtqn!vjcv!gxgp!kh!vjg{!jcf!c!Hgfgtcn!KF
         pwodgt-!vjg{!eqwnf!dg!eqpukfgtgf!cp!gornq{gg/!!
         Oquv!qh!vjgo!ctg!rckf!coqwpvu!vjcv!yqwnf!kpfkecvg!vjg{!jcf!jgnrgtu0gornq{ggu/!
         !
         We need Workers Compensation policies for those that had employees – probably anyone
         earning over $50,000 – since the 1099’s are just for labor I think that is a fair amount – and
         Federal ID numbers for everyone else.
         !
         K!fkf!pqv!tgugctej!PL-!dwv!yqwnf!gzrgev!vjg!etkvgtkc!vq!dg!cdqwv!vjg!ucog/
         !




         !
         !
         !




         !
         !
         !
         Dawn Mathison, CPCU, AU, APA
         Ugpkqt!Rtgokwo!Cwfkvqt
         Rtgokwo!Cwfkv!Ugtxkegu
         Nkdgtv{!Owvwcn!Kpuwtcpeg
         !
         Y495!P854;!Eqvvqpyqqf!Ev/
         Qeqpqoqyqe-!YK!!64177
         Egnn<!!525.416.684;
         Hcz<!!977.91;.8917
         fcyp/ocvjkuqpBnkdgtv{owvwcn/eqo
         !


         !
         !
         Jqtpki!Kpuwtcpeg!Cigpe{
         Pgvyqtm!Kpuwtcpeg!Cigpe{
         4566!Fcmqvc!Cxg



                                                                                                 R.UC111461
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             Uv/!Nqwku!Rctm-!OP!66527
             Rjqpg<!;63.764.2911
             Hcz<!;63.764.2915
             !
             ***Did you know that we have many life and disability products available?***
             Hqt!c!swkem!gcu{!vgto!nkhg!kpuwtcpeg!swqvg!iq!vq<!jvvr<00pgvyqtmnkhg/tdtqmgtu/nkhg/cs3g/eqo0
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     Rjqpg<!;63.764.2911
     Hcz<!;63.764.2915
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     ***Did you know that we have many life and disability products available?***
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     Hcz<!;63.764.2915
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     ***Did you know that we have many life and disability products available?***
     Hqt!c!swkem!gcu{!vgto!nkhg!kpuwtcpeg!swqvg!iq!vq<!jvvr<00pgvyqtmnkhg/tdtqmgtu/nkhg/cs3g/eqo0
     !




                                                                                                            R.UC111462
      CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 94 of 125


From:                 Abraham, Laura
To:                   Zepnick, Timothy; Slaski, James; Mathison, Dawn; Christiansen, Rebecca L
Subject:              RE: Action Needed - Premium Audit Notification -Sushi Avenue WC 8948248
Date:                 Wednesday, April 01, 2015 3:37:15 PM



Vjg!tgncvkqpujkr!ku!kpvcev/!Yg!eqoowpkecvgf!ygnn!ykvj!vjku!cigpe{!htqo!vjg!dgikppkpi!cpf!vjg{!hwnn{!wpfgtuvqqf!yjcv!yg!pggfgf!vq!fq/!Vjku!ku!tgcnn{!c!uocnn
dwukpguu!rtqfwegt!hqt!wu!!ykvj!tgurgevu!vq!vjg!cigpe{/!K!jcxg!dggp!oqpkvqtkpi!cevkxkv{!hnqy!cpf!fq!pqvkeg!qwt!cevkxkv{!eqpvkpwgu!vq!dg!eqpukuvgpv/
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K!jcxg!pq!kuuwg!ykvj!Fcypu!tgeqoogpfcvkqp/
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Ncwtc
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           From: Zepnick, Timothy
           Sent: Wednesday, April 01, 2015 3:31 PM
           To: Slaski, James; Mathison, Dawn; Christiansen, Rebecca L; Abraham, Laura
           Subject: RE: Action Needed - Premium Audit Notification -Sushi Avenue WC 8948248
           #
           Dgeec0Ncwtc!!Fq!gkvjgt!qh!{qw!jcxg!cp{!kuuwgu!ykvj!rtqeggfkpi!rgt!Fcypu!tgeqoogpfcvkqpA!!K!fq!pqv!dgnkgxg!vjcv!vjg{!jcxg!rckf!vjg!24.25!cwfkv
           rtgokwo/!!Ko!hkpg!ykvj!rtqeggfkpi!cu!pqprtqfwevkxg-!dwv!yqwnf!nkmg!{qwt!kprwv!cu!ygnn/!!Jqy!owej!kphqteg!fq!yg!jcxg!ykvj!vjku!cigpe{!cpf!jqy!yknn
           vjku!rqvgpvkcnn{!korcev!qwt!tgncvkqpujkr!ykvj!vjg!cigpe{A
           !
                  From: Slaski, James
                  Sent: Wednesday, April 01, 2015 11:15 AM
                  To: Mathison, Dawn; Christiansen, Rebecca L; Zepnick, Timothy
                  Subject: RE: Action Needed - Premium Audit Notification -Sushi Avenue WC 8948248
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                  Lm#Xmq##M#{erxih#xs#oiit#}sy#mr#xli#psst1##Tiv#fips{/#Wywlm#lew#rsx#gsstivexih#{mxl#xli#pexiwx#eyhmx#viuyiwx1
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                  Eyhmx#Wivzmgiw#0#Jmiph#Eyhmx#Qerekiv+E^/#GS/#QR/#RQ/#RZ/#YX/#[M/#[],
                  #
                  From: Mathison, Dawn
                  Sent: Wednesday, April 01, 2015 10:04 AM
                  To: Christiansen, Rebecca L
                  Cc: Slaski, James
                  Subject: Action Needed - Premium Audit Notification -Sushi Avenue WC 8948248
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                  ger#tvsgiih#{mxl#xli#eyhmx1
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                  Tspmg}#Ryqfiv>##[G#<=7<57<
                  Tspmg}#Xivq>##624=25347##524825348
                  Tviqmyq#Mqtegx#'633/333mwl
                  #
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                  Gsqqirxw>
                  M#lezi#xli#Gergippexmsr#eyhmx#xs#gsqtpixi#sr#Wywlm#Eziryi1###Xli#mrwyvih#erh#xli#ekirx#lezi#rsx#viwtsrhih#xs#q}#exxiqtxw1###
                  M#pijx#e#zsmgi#qemp#erh#wirx#er#iqemp#xs#Wxizir#Oyqnm#sr#Jvmhe}/#Qevgl#9#erh#Xyiwhe}/#Qevgl#4;1###

                  M#pijx#e#zsmgi#qemp#jsv#Qipmwwe#ex#Lsvrmk#Mrwyvergi#Ekirg}#sr#Qsrhe}/#Qevgl#56#ewomrk#jsv#lipt#mr#sfxemrmrk#xli#eyhmx1###Rimxliv#lew#viwtsrhih#xs#q}
                  geppw#sv#iqempw1#
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                  M#{syph#pmoi#xs#wyfqmx#xlmw#ew#yrtvshygxmzi1###Xli#ywyep#tvegxmgi#mw#xs#tvsvexi#xli#gergippexmsr#eyhmx#xs#pewx#}ievw#eyhmx#jmkyviw1##Pewx#}ievw#eyhmx#viwypxih#mr
                  '6<=/333#Ehhmxmsrep#Tviqmyq1
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                  Mw#mx#SO#xs#wyfqmx#xli#eyhmx#ew#Rsr#Tvshygxmzi#erh#tvs#vexi#xli#eyhmxC
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                  M#eq#ezempefpi#xs#hmwgyww#eyhmx#jmrhmrkw#{mxl#}sy#imxliv#f}#tlsri#sv#xlvsykl#iqemp1#Tpiewi#gsrxegx#qi#mj#}sy#lezi#er}#uyiwxmsrw1
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                  Wmrgivip}/
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                  Dawn Mathison, CPCU, AU, APA
                  Ugpkqt!Rtgokwo!Cwfkvqt
                  Rtgokwo!Cwfkv!Ugtxkegu
                  Nkdgtv{!Owvwcn!Kpuwtcpeg
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                  Y495!P854;!Eqvvqpyqqf!Ev/
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                  Egnn<!!525.416.684;
                  Hcz<!!977.91;.8917
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             CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 95 of 125




Htqo<                           Pqtvqp-!Tkejctf
Ugpv<                           Vjwtufc{-!Oc{!25-!3126!3<31!RO
Vq<                             Cngzcpfgt-!Ewtngvvg
Ee<                             Vqttgu-!Dtweg
Uwdlgev<                        644789;!%487-311/;7


Hi Curlette, this account was assigned on the 6th of this month. We have no response to the first dunning letter.
If you have capacity I would for you to attempt recovery.

If you accept please do a complete work up on this. How did the balance develop? Pull a D&B lets see the
condition of the debtor. Who are the officers? What is the Sec of State report? Any other info you find you feel
is relevant.

Please set up a meeting to review with Bruce and me when you have the info ready to go.

This is one of those one off accounts. The assignment is on the KUL desk. If we find the debtor is not BK or
going out of business but is a viable company I’ll change to your desk so that it comes up for regular review in
your campaign.

Thanks,

Richard Norton
Assistant Manager
Collections
Liberty Mutual Insurance
PO Box 2050
Keene, NH 03431
603-358-0206




                                                                                                     EXHIBIT
                                                                                                          12

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                                                                                            R.UC111;98
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From: Melissa Marroquin [mailto:melissa@horniginsurance.com]
Sent: Tuesday, May 19, 2015 10:57 AM
To: Abraham, Laura
Subject: Sushi Ave Inc WC8948248

Hello Laura!
The insured contacted me yesterday regarding the collections activity for the work comp premium resulting from the work
comp audit conducted on this insured.
I received permission from the insured to forward Liberty Mutual the information contained below. Minnesota
Unemployment/Department of Labor did find in favor of the insured that the subcontractors are properly classified.
We are hoping that the company will review this information as the insured continues to dispute the results of the work
comp audit.
We continue to appreciate your consideration and attention with regard to this matter.
Thank you so much!
Melissa




Thanks,

Nay




Hornig Insurance Agency
Network Insurance Agency
3455 Dakota Ave
St. Louis Park, MN 55416
Phone: 952-653-1800
Fax: 952-653-1804


Cyber Liability Coverage is now available! Find out if you are at risk for a breach: https://databreachcalculator.com



***Did you know that we have many life and disability products available?***
For a quick easy term life insurance quote go to: http://networklife.rbrokers.life.aq2e.com/



Cyber Liability Coverage is now available! Find out if you are at risk: https://databreachcalculator.com



                                                                                                            EXHIBIT
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                                                            R.UC111998
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                                                             R.UC111999
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                                                             R.UC111;1;
   CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 122 of 125




From: Zepnick, Timothy
Sent: Friday, May 22, 2015 11:18 AM
To: Jenkins, Douglas T
Cc: Becker, Collin; Abraham, Laura; Slaski, James; Alexander, Curlette
Subject: FW: Sushi Ave Inc WC8948248




From: Abraham, Laura
Sent: Tuesday, May 19, 2015 6:09 PM
To: Becker, Collin; Zepnick, Timothy; Slaski, James
Subject: FW: Sushi Ave Inc WC8948248

Please find the attached information from Sushi. Please advise if this changes our approach regarding
independent contractors.

Collin, I’ll forward to you some additional information regarding the background of this audit.

Laura


From: Melissa Marroquin [mailto:melissa@horniginsurance.com]
Sent: Tuesday, May 19, 2015 10:57 AM
                                                                                                  EXHIBIT
To: Abraham, Laura
Subject: Sushi Ave Inc WC8948248                                                                       14

Hello Laura!
The insured contacted me yesterday regarding the collections activity for the work comp premium resulting from
the work comp audit conducted on this insured.
I received permission from the insured to forward Liberty Mutual the information contained below. Minnesota

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                                              TGFCEVGF                                   R.UC111;37
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        From: Alexander, Curlette
        Sent: Tuesday, June 30, 2015 12:46 PM
        To: Zepnick, Timothy
        Cc: Jenkins, Douglas T; Torres, Bruce
        Subject: RE: Sushi Ave Inc WC8948248 COLLECTION #5336789
        Importance: High




              From: Zepnick, Timothy
              Sent: Monday, June 22, 2015 3:35 PM
              To: melissa@horniginsurance.com
              Cc: Abraham, Laura; Alexander, Curlette; Slaski, James
              Subject: FW: Sushi Ave Inc WC8948248

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                     COHUR `V\ MVY WYV]PKPUN JVWPLZ VM [OL JVYYLZWVUKLUJL IL[^LLU B\ZOP# 9UJ$aZ
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                     JVU[YHJ[VY MVY [H_ W\YWVZLZ JHU IL KPMMLYLU[ [OHU [OL ZHTL [LZ[ MVY FVYRLYZa

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CASE 0:15-cv-04112-ADM-DTS Document 36 Filed 11/14/16 Page 124 of 125
                      3VTWLUZH[PVU W\YWVZLZ$ 5TWSV`LLZ [OH[ HYL Z\IQLJ[ [V [OL F3 HJ[ TH` IL
                      JVUZPKLYLK '&.. !PUKLWLUKLU[ JVU[YHJ[VYZ" LTWSV`LLZ MVY 9AB W\YWVZLZ$

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                      HYL YLX\PYLK [V YH[L MVY [OLT$

                      BPUJLYLS`#



                      Tim Zepnick, CIC
                      Regional Vice President, Business Insurance
                      Liberty Mutual Insurance
                      N19W24130 Riverwood Dr., Suite 200
                      Waukesha, WI 53188
                      Direct Dial: 262-446-8390
                      Cell: 951-203-0103




              From: Melissa Marroquin [mailto:melissa@horniginsurance.com]
              Sent: Tuesday, May 19, 2015 10:57 AM
              To: Abraham, Laura
              Subject: Sushi Ave Inc WC8948248

               Hello Laura!
              The insured contacted me yesterday regarding the collections activity for the work
              comp premium resulting from the work comp audit conducted on this insured.
                                           4
                                                                                R.UC111;24
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